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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                DaDong Catering LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA DaDong NY
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3 Bryant Park
                                  (120 W 42nd St.)
                                  New York, NY 10036-6501
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  New York                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       http://www.dadongny.com/


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor
                                                                           2 of 158      Case number (if known)
          DaDong Catering LLC
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                             Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                           Case number
                                                 District                                 When                           Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                 Relationship
                                                 District                                 When                          Case number, if known




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Debtor
                                                                           3 of 158      Case number (if known)
         DaDong Catering LLC
         Name



11. Why is the case filed in     Check all that apply:
    this district?
                                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                        preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                  No
    real property or personal     Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                             It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                             It needs to be physically secured or protected from the weather.
                                             It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                             Other
                                            Where is the property?
                                                                             Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                             No
                                             Yes. Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of       .       Check one:
    available funds
                                          Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of           1-49                                           1,000-5,000                               25,001-50,000
    creditors                     50-99                                          5001-10,000                               50,001-100,000
                                  100-199                                        10,001-25,000                             More than100,000
                                  200-999

15. Estimated Assets              $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                  $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                  $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities         $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                  $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                  $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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Debtor
                                                                         4 of 158      Case number (if known)
          DaDong Catering LLC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      11/13/2019
                                                  MM / DD / YYYY


                             X                                                                           Xiaozhe Liu
                                 Signature of authorized representative of debtor                        Printed name

                                         CEO and Managing Member of Genesis
                                 Title   Brand Management




18. Signature of attorney    X                                                                            Date
                                 Signature of attorney for debtor                                                MM / DD / YYYY

                                 Steven R. Wirth
                                 Printed name

                                 Akerman LLP
                                 Firm name

                                 401 East Jackson Street
                                 Suite 1700
                                 Tampa, FL 33602
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     813 223 7333                  Email address      steven.wirth@akerman.com

                                 2935690 NY
                                 Bar number and State




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             RESOLUTIONS ADOPTED BY THE SOLE MEMBER OF DADONG CATERING LLC

        The undersigned, being the sole member of and owner of 100% of the membership
interest in DaDong Catering LLC, a Delaware Limited Liability Company (the "Company"),
pursuant to applicable provisions of the Delaware Limited Liability Company Act and Limited
Liability Company Operating Agreement of DaDong Catering LLC dated as of October 2, 2015,
hereby adopts the following resolutions ("Resolutions"), and such Resolutions have not been
amended or rescinded and are now in full force and effect:

                 RESOLVED, that in the judgment of the sole member of the
                 Company it is desirable and in the best interests of the Company,
                 its creditors, its owner, and other interested parties, that a voluntary
                 petition be filed by the Company in the United States Bankruptcy
                 Court for the Southern District of New York (the "Bankruptcy
                 Court"), seeking relief under the provisions of Chapter 11 of Title
                 11 of the United States Code (the "Bankruptcy Code"), in which
                 the authority to operate as a debtor-in-possession will be sought,
                 and the filing of such petition is authorized hereby; and it is further

                 RESOLVED, that the sole member, DaDong Management LLC,
                 whose Managing Member and authorized representative is
                 Xiaozhe Liu (the "Authorized Person"), is authorized and
                 empowered, on behalf of and in the name of the Company, to
                 execute and verify such petition under Chapter 11 of the
                 Bankruptcy Code as an authorized signatory in connection with the
                 chapter 11 case authorized herein (the "Case"); and it is further

                 RESOLVED, that the Authorized Person of the Company be, and
                 hereby is, authorized, empowered and directed, on behalf of and in
                 the name of the Company, to execute and verify a petition in the
                 name of the Company under Chapter 11 of the Bankruptcy Code
                 and to cause the same to be filed in the Bankruptcy Court to
                 commence the Case in such form and at such time as the
                 Authorized Person executing said petition on behalf of the
                 Company shall determine; and it is further

                 RESOLVED, that the Authorized Person be, and hereby is,
                 authorized, directed and empowered, on behalf of and in the name
                 of the Company to execute and/or file, or cause to be executed
                 and/or filed (or to direct others to do so on his behalf as provided
                 herein), all necessary documents including, but not limited to, all
                 petitions, affidavits, schedules, motions, lists, applications,
                 pleadings and other papers, and in that connection to employ and
                 retain all assistance by legal counsel, accountants or other
                 professionals and to take any and all other action, that they or any
                 of them deem necessary, proper or desirable in connection with the
                 Case contemplated hereby, with a view to the successful
                 prosecution of such case; and it is further


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              RESOLVED, that the Authorized Person of the Company be, and
              hereby is, authorized and empowered, in the name and on behalf of
              the Company, to take or cause to be taken, from time to time, any
              and all such further action and to execute and deliver, or cause to
              be executed and delivered, all such further agreements, documents,
              certificates and undertakings including, but not limited to,
              amendments to the documents contemplated hereby following the
              effectiveness thereof, and to incur all such fees and expenses as in
              their judgment shall be necessary, appropriate or advisable, to
              effectuate the purpose and intent of the foregoing resolutions; and
              it is further

              RESOLVED, that the Company as debtor and debtor-in-
              possession under Chapter 11 of the Bankruptcy Code be, and it
              hereby is, authorized, to the extent necessary, to enter into a
              debtor-in-possession financing facility and in connection
              therewith, to grant any guarantees, pledges, mortgages, and other
              security instruments containing such provisions, terms, conditions,
              covenants, warranties and representations as may be deemed
              necessary or appropriate by any Authorized Person to obtain such
              debtor-in-possession financing for the Company or its subsidiaries
              and affiliates, and it is further

              RESOLVED, that the Authorized Person of the Company be, and
              hereby is, authorized and empowered to execute, deliver, and
              perform for and on behalf of the Company, as debtor and debtor-
              in-possession, any documents, agreements, guaranties, instruments,
              financing statements, undertakings and certificates necessary or
              appropriate to facilitate the transactions contemplated by the
              foregoing resolution including, but not limited to, any credit
              agreement, promissory note, letter of credit application, or other
              document evidencing the obligations of the Company under the
              debtor-in-possession financing, and any modifications or
              supplements thereto, all such materials to be in the form provided
              by such Authorized Person, the execution and delivery thereof to
              be conclusive evidence of such approval; and it is further

              RESOLVED, that the Authorized Person be, and hereby is,
              authorized and empowered for and in the name and on behalf of
              the Company to amend, supplement or otherwise modify from time
              to time the terms of any documents, certificates, instruments,
              agreements or other writings referred to in the foregoing
              resolutions; and it is further

              RESOLVED, that the law firm of Akerman LLP be, and hereby is,
              employed as attorneys for the Company in this Case as bankruptcy
              and reorganization counsel and for all other relevant purposes; and
              it is further

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              RESOLVED, that Moecker Auctions be, and hereby is, employed
              as auctioneer for the Company in this Case for purposes of
              marketing the assets and conducting the auction, and for all other
              relevant purposes; and it is further

              RESOLVED, that the Authorized Person be, and hereby is,
              authorized and empowered, in the name and on behalf of the
              Company, to retain such other professionals as he deems
              appropriate during the course of the Case; and it is further

              RESOLVED, that the Authorized Person of the Company be, and
              hereby is, authorized, in the name and on behalf of the Company,
              to take or cause to be taken any and all such further action and to
              execute and deliver or cause to be executed or delivered all such
              further agreements, documents, certificates and undertakings, and
              to incur all such fees and expenses as in his judgment shall be
              necessary, appropriate or advisable to effectuate the purpose and
              intent of any and all of the foregoing Resolutions; and it is further

              RESOLVED, that all acts lawfully done or actions lawfully taken
              by the Authorized Person to seek relief on behalf of the Company
              under Chapter 11 of the Bankruptcy Code, or in connection with
              the Case, or any matter related, including in connection with the
              debtor-in-possession financing, be, and they hereby are, adopted,
              ratified, confirmed and approved in all respects as the acts and
              deeds of the Company.

       IN WITNESS WHEREOF, the undersigned has duly executed these Resolutions on this
12th day of November, 2019.

                                                    DaDong Management LLC, as sole member

                                                    ___________________________________
                                                    Xiaozhe Liu
                                                    Authorized Person




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 Fill in this information to identify the case:

 Debtor name         DaDong Catering LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                          amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on         11/13/2019                               X
                                                                         Signature of individual signing on behalf of debtor

                                                                         Xiaozhe Liu
                                                                         Printed name

                                                                         CEO and Managing Member of Genesis Brand Management
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name DaDong Catering LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                 Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 3 BP Property                   Mitchell D. Haddad, Landlord and                       Disputed                                                                      $2,218,112.34
 Owner LLC                       Esq.                Tenant Judgment
 PO Box 781998
 Philadelphia, PA
 19178-1998                      212-643-7000
 All Season                                                      supplier                                                                                                 $54,992.00
 Hospitality
 12 Breiderhoft Rd
 Kearny, NJ 07032
 American Express                Meyers, Saxon &                 credit card                                                                                              $56,870.72
 P.O. Box 1270                   Cole
 Newark, NJ
 07101-1270                      rsaxongolf@gmail.
                                 com
                                 718-339-3330
 Asian Bok Choy,                                                 supplier                                                                                                 $21,779.88
 Inc.
 969 Grand St
 Brooklyn, NY 11211
 Baring Industries,   Ross Goldstein                             Block 994, Lot                                     $320,356.94                        $0.00            $320,356.94
 Inc.                                                            1011, more
 3249 SW 42nd Street                                             commonly known
 Ft.                                                             as 3 Bryant Park,
 Fort Lauderdale, FL                                             New York, NY
 33312                                                           10036
 Done Right Hood & Relin, Goldstein &                            services                                                                                                 $34,213.97
 Fire Safety          Crane, LLP
 P.O Box 100772
 Brooklyn, NY 11210
 F. Rozzo & Sons                                                 supplier                                                                                                 $21,387.06
 159 Ninth Ave
 New York, NY 10011
 Gotham Seafood                                                  supplier                                                                                                 $28,867.56
 Corporation
 542 West 29th Street
 New York, NY 10001



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    DaDong Catering LLC                                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 HNY Consulting                                                  services                                                                                                 $50,000.00
 Engineers, LLC
 PO Box 785566
 Philadelphia, PA
 19178-5566
 JDB Market Corp                 Don L. Hochler,                 supplier                                                                                                 $15,999.28
 dba John's Mar                  P.C.
 25-20 50th Ave
 Long Island City, NY
 11101
 Jia Law Group                                                   legal services                                                                                           $21,276.48
 225 Broadway, 17th
 Floor
 New York, NY 10007
 KOP KG One LLC                                                  retainer to                                                                                              $50,000.00
 750 Lexington Ave                                               Akerman LLP
 New York, NY 10022
 NY City Department                                              tax warrant                                                                                              $92,111.01
 of Finance                                                      003905344-01
 P.O. Box 2307
 New York, NY
 10272-2307
 NYS Dept of                                                     tax warrant                                                                                            $389,362.17
 Taxation & Finance                                              E-049330911-W00
 Civil Enforcement –                                             1-6
 Region 4A                                                       tax warrant
 Albany, NY                                                      E-049330911-W00
 12227-0001                                                      6-8
 Pat Lafrieda Meat                                               supplier                                                                                                 $22,790.27
 Purveyors
 3701 Tonnelle Ave
 North Bergen, NJ
 07047
 Prager Metis CPAs,                                              accounting                                                                                               $41,000.00
 LLC                                                             services
 14 Penn Plaza
 Suite #1800
 New York, NY 10122
 The Lobster Place                                               supplier                                                                                                 $18,520.21
 Inc.
 75 9th Ave
 New York, NY 10011
 Transel Elevator and            Stuart S. Zisholtz,             Block 994, Lot                                     $158,169.17                        $0.00            $158,169.17
 Electric                        Esq.                            1011, more
 P.O. Box 71241                                                  commonly known
 Philadelphia, PA                                                as 3 Bryant Park,
 19176                                                           New York, NY
                                                                 10036
 True World Foods                Pragna Parikh,                  supplier                                                                                                 $33,365.33
 New York LLC                    Esq.
 32-34 Papetti Plaza
 Elizabeth, NJ 07206
                                 631-499-5400

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    DaDong Catering LLC                                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 US Foods                                                        supplier                                                                                                 $17,996.75
 1051 Amboy Ave
 Perth Amboy, NJ
 08861




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name            DaDong Catering LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $      22,524,208.52

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $      22,524,208.52


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $           478,526.11


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $           632,030.24

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        3,072,884.01


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          4,183,440.36




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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                                                                            14 of 158
 Fill in this information to identify the case:

 Debtor name         DaDong Catering LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest
 2.         Cash on hand                                                                                                                             $7,241.98


 2.         Cash on hand                                                                                                                                 $900.00



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number
                   JPMorgan Chase Bank, N.A.
                   P O Box 182051                                           Chase Platinum
            3.1.   Columbus, OH 43218- 2051                                 Business Checking                7906                                    $3,079.37


                   JPMorgan Chase Bank, N.A.
                   P O Box 182051                                           Chase Platinum
            3.2.   Columbus, OH 43218 - 2051                                Business Checking                7968                                        $470.37


                   JPMorgan Chase Bank, N.A.
                   P O Box 182051                                           Chase Platinum
            3.3.   Columbus, OH 43218 - 2051                                Business Checking                6580                                           $0.00


                   JPMorgan Chase Bank, N.A.
                   P O Box 182051                                           Chase Total Business
            3.4.   Columbus, OH 43218- 2051                                 Checking                         8120                                           $0.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                    $11,691.72
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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 Debtor            DaDong Catering LLC                                                                 Case number (If known)
                   Name



 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     Security deposit held by 3 BP Property Owner LLC at East West Bank                                                        $4,300,000.00




            7.2.     Security deposit held by Con Edison.                                                                                           $1,955.00



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


 9.         Total of Part 2.                                                                                                               $4,301,955.00
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                                1,082.56     -                                   0.00 = ....                   $1,082.56
                                              face amount                                doubtful or uncollectible accounts




 12.        Total of Part 3.                                                                                                                    $1,082.56
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.

 Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No. Go to Part 6.
       Yes Fill in the information below.
            General description                       Date of the last                Net book value of         Valuation method used   Current value of
                                                      physical inventory              debtor's interest         for current value       debtor's interest
                                                                                      (Where available)

 19.        Raw materials
            food and beverage                                                                        $0.00                                       $180,137.85



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 2
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 Debtor         DaDong Catering LLC                                                              Case number (If known)
                Name

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                          $180,137.85
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:    Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                   Net book value of      Valuation method used   Current value of
                                                                                 debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Furniture and Fixtures                                                              $0.00                                     $963,944.59



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $963,944.59
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                   Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers                 debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                         (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Machine & Equipment
           (current value doesn't necessarily reflect fair
           market value)                                                                       $0.00                                    $2,782,752.54


           Leasehold Improvements
           (current value doesn't necessarily reflect fair
           market value)                                                                       $0.00                                  $14,265,419.77


           A/D - Equipment & Machine
           (current value doesn't necessarily reflect fair
           market value)                                                                       $0.00                                                $0.00




 51.       Total of Part 8.                                                                                                        $17,048,172.31
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and             Net book value of      Valuation method used   Current value of
           property                                       extent of              debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest      (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 4
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            available.
            55.1. 3 Bryant Park
                     (120 W 42nd Street)
                     New York, NY
                     10036-6501                           Lease                             $0.00                                                $0.00




 56.        Total of Part 9.                                                                                                                  $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of        Valuation method used   Current value of
                                                                              debtor's interest        for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties
            liquor license                                                                  $0.00                                          $8,924.00



 63.        Customer lists, mailing lists, or other compilations
            guest names and email addresses (maintained
            by Open Table)                                                                  $0.00                                                $0.00



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                           $8,924.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
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             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities
            United Healthcare Oxford
            Medical                                                                                                                          $0.00


            Maxim Indemnity Company - Employment Practices
            Liability Insurance
            Policy No. MLN603174901                                                                                                          $0.00



 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

            Prepaid Insurance                                                                                                          $8,300.49




 78.        Total of Part 11.                                                                                                       $8,300.49
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 6
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 Debtor          DaDong Catering LLC                                                                                 Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $11,691.72

 81. Deposits and prepayments. Copy line 9, Part 2.                                                             $4,301,955.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                       $1,082.56

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $180,137.85

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $963,944.59

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                $17,048,172.31

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                    $8,924.00

 90. All other assets. Copy line 78, Part 11.                                                    +                    $8,300.49

 91. Total. Add lines 80 through 90 for each column                                                       $22,524,208.52             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $22,524,208.52




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 7
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 Fill in this information to identify the case:

 Debtor name          DaDong Catering LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Baring Industries, Inc.                       Describe debtor's property that is subject to a lien                $320,356.94                         $0.00
        Creditor's Name                               Block 994, Lot 1011, more commonly known
                                                      as 3 Bryant Park, New York, NY 10036
        3249 SW 42nd Street Ft.
        Fort Lauderdale, FL 33312
        Creditor's mailing address                    Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        2/4/2019                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



        Transel Elevator and
 2.2                                                  Describe debtor's property that is subject to a lien                $158,169.17                         $0.00
        Electric
        Creditor's Name                               Block 994, Lot 1011, more commonly known
                                                      as 3 Bryant Park, New York, NY 10036
        P.O. Box 71241
        Philadelphia, PA 19176
        Creditor's mailing address                    Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply



Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $478,526.11

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Jared M. Rosen, Esq.
        216 Lakeville Rd                                                                                  Line   2.1
        Great Neck, NY 11020

        Transel Elevator and Electric
        30-30 47th Avenue                                                                                 Line   2.2
        Suite 6110
        Long Island City, NY 11101




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         DaDong Catering LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $1,711.99        $1,711.99
           Aboudala Aberessi                                         Check all that apply.
           2300 Grand concourse Apt 3G                                Contingent
           Bronx, NY 10458                                            Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           10/14/19 - 11/10/19                                       wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $127.99        $127.99
           Alexandra Rovati                                          Check all that apply.
           342 E 76st                                                 Contingent
           New York, NY 10021                                         Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           10/14/19 - 11/10/19                                       wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 72
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              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $2,854.90    $2,854.90
          Alexandra Shcherbakov                                      Check all that apply.
          1844 81 st 3rd Fl                                           Contingent
          Brooklyn, NY 11214                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,015.15    $1,015.15
          Alvaro Sanchez                                             Check all that apply.
          1524 47th St                                                Contingent
          North Bergen, NJ 07047                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $871.83     $871.83
          Andrea M. Sandoval                                         Check all that apply.
          2303 Ditmars Blvd Astoria                                   Contingent
          Astoria, NY 11105                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $5,919.69    $5,919.69
          Andrew Wilson                                              Check all that apply.
          114 Troctman St. 306                                        Contingent
          Brooklyn, NY 11206                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        salary
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $3,678.27    $3,678.27
          Annie Lu                                                   Check all that apply.
          51 E 117th St, Apt 1                                        Contingent
          New York, NY 10035                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,718.35    $1,718.35
          Asciel Hernandez                                           Check all that apply.
          2471 Davidson Ave                                           Contingent
          Bronx, NY 10468                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,358.53    $1,358.53
          Badr Naimallah                                             Check all that apply.
          19-51 80th St. 1C                                           Contingent
          East Elmhurst, NY 11370                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $7,801.74    $7,801.74
          Bin Bin Xu                                                 Check all that apply.
          80 Dekalb Ave Apt 16K                                       Contingent
          Brooklyn, NY 11201                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        salary
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $7,352.50    $7,352.50
          Caroleyn Ng                                                Check all that apply.
          147 Elizabeth St                                            Contingent
          New York, NY 10036                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        salary
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $12,734.73    $12,734.73
          Celso Moreira                                              Check all that apply.
          527 West 46th St                                            Contingent
          Apt.16                                                      Unliquidated
          New York, NY 10036                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        salary
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $474.73     $474.73
          Clara Veras Rodriguez                                      Check all that apply.
          3053 Heath Ave                                              Contingent
          Bronx, NY 10463                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $6,235.56    $6,235.56
          Claudia Delgado                                            Check all that apply.
          3230 44th Street Apt 3F                                     Contingent
          Astoria, NY 11103                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        salary
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $593.00     $593.00
          Connor Evans                                               Check all that apply.
          605 West 156                                                Contingent
          New York, NY 10032                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $5,260.13    $5,260.13
          Dan Burz                                                   Check all that apply.
          2601 Palisade Avenue 2FL                                    Contingent
          Union City, NJ 07087                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        salary
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,723.79    $1,723.79
          Danny Hernandez                                            Check all that apply.
          20-35 Seagirt Boulevard Apt 5E                              Contingent
          Far Rockaway, NY 11691                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $62.92     $62.92
          Darren Hartnett                                            Check all that apply.
          2266 Andrews Ave                                            Contingent
          Bronx, NY 10468                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,434.49    $1,434.49
          Dawa Sherpa                                                Check all that apply.
          3770 64th Street #Apt 3R                                    Contingent
          Woodside, NY 11377                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $2,345.31    $2,345.31
          De Yun Fang                                                Check all that apply.
          13627 Cherry Avenue                                         Contingent
          Flushing, NY 11355-4829                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,598.59    $1,598.59
          Edgar Torres                                               Check all that apply.
          34-42 89th St Apt 1                                         Contingent
          Jackson Heights, NY 11372                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $121.36     $121.36
          Estelle Wong                                               Check all that apply.
          75 West End Avenue APT R9D                                  Contingent
          New York, NY 10023                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $859.20     $859.20
          Franco Vasquez                                             Check all that apply.
          6207 37th Ave                                               Contingent
          Woodside, NY 11377                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $857.54     $857.54
          Glenda Cortes                                              Check all that apply.
          2798 Marion Avenue Apt 3                                    Contingent
          Bronx, NY 10458                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,818.09    $1,818.09
          Guo Yao Li                                                 Check all that apply.
          57 Bay 23rd St Apt 1                                        Contingent
          Brooklyn, NY 11214                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $4,637.23    $4,637.23
          Haiyue Bao                                                 Check all that apply.
          4303 64th Street Floor 2                                    Contingent
          Woodside, NY 11377                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        salary
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $6,582.01    $6,582.01
          Han Ge Wang                                                Check all that apply.
          88-38 50th Ave                                              Contingent
          Elmhurst, NY 11373                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        salary
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,457.64    $1,457.64
          Hassane Dao                                                Check all that apply.
          2816 Frederick Douglass Blvd                                Contingent
          Apt. 3                                                      Unliquidated
          New York, NY 10039                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $738.74     $738.74
          Helena Kurtezi                                             Check all that apply.
          22-41 29th St                                               Contingent
          Astoria, NY 11105                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $2,484.61    $2,484.61
          Hock Lim Cheng                                             Check all that apply.
          109 Mott St Apt 4                                           Contingent
          New York, NY 10013                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $585.04     $585.04
          Imani Z. Lee-Hector                                        Check all that apply.
          26 Harding Terrace                                          Contingent
          Newark, NJ 07112                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $750.98     $750.98
          Jhonny Figueroa                                            Check all that apply.
          295 Central Avenue #2                                       Contingent
          Jersey City, NJ 07307                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,868.88    $1,868.88
          Jia Bin Huang                                              Check all that apply.
          8823 51st Ave                                               Contingent
          Elmhurst, NY 11373                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,978.49    $1,978.49
          Jian Hua Wu                                                Check all that apply.
          527 W 47th Street Apt 4H                                    Contingent
          New York, NY 10036                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $2,156.17    $2,156.17
          Jie Feng Lin                                               Check all that apply.
          51-17 92st                                                  Contingent
          Elmhurst, NY 11373                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,566.98    $1,566.98
          Joana Rosales                                              Check all that apply.
          2819 Morris Ave                                             Contingent
          Bronx, NY 10468                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,345.20    $1,345.20
          Jose Osoria                                                Check all that apply.
          237 South 2nd Ave Apt 3E                                    Contingent
          Brooklyn, NY 11211                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,381.34    $1,381.34
          Joseph Quon                                                Check all that apply.
          342 West 48th Street 4FW                                    Contingent
          New York, NY 10036                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,724.49    $1,724.49
          Juan Francisco Batista                                     Check all that apply.
          535 West 135th Street APT 4A                                Contingent
          New York, NY 10031                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,526.96    $1,526.96
          Jun Luo                                                    Check all that apply.
          4212 28th St Apt 26K                                        Contingent
          Long Island City, NY 11101                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,561.48    $1,561.48
          Kenny A. Prada                                             Check all that apply.
          454 Second Avenue W                                         Contingent
          East Northport, NY 11731                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $651.14     $651.14
          Klevis Toshka                                              Check all that apply.
          4401 17 Ave                                                 Contingent
          Brooklyn, NY 11204                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,474.47    $1,474.47
          Lin Min Huang                                              Check all that apply.
          649 74th St                                                 Contingent
          Brooklyn, NY 11209                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $2,310.58    $2,310.58
          Lucio S. Carreno                                           Check all that apply.
          104-22 37th Drive 1st FL                                    Contingent
          Corona, NY 11368                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $4,895.92    $4,895.92
          Luis Arroyo                                                Check all that apply.
          150 Summit Avenue Apt 1B                                    Contingent
          Cliffside Park, NJ 07010                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $2,967.42    $2,967.42
          Marco A. Mendieta                                          Check all that apply.
          32-44 77th St                                               Contingent
          East Elmhurst, NY 11370                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,997.72    $1,997.72
          Maria Palaguachi                                           Check all that apply.
          3750 Broadway Apt B                                         Contingent
          New York, NY 10032                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,917.40    $1,917.40
          MaryAnn Lorick                                             Check all that apply.
          545 W 126 St., Apt 7b                                       Contingent
          New York, NY 10027                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $670.87     $670.87
          Md Matiur Khan                                             Check all that apply.
          2361 East 15th St                                           Contingent
          Brooklyn, NY 11229                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,366.48    $1,366.48
          Melissa Augusto                                            Check all that apply.
          911 Walton Avenue #2C                                       Contingent
          Bronx, NY 10452                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.51     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $931.68     $931.68
          Michael Arias                                              Check all that apply.
          203 East 175th Street Apt 51                                Contingent
          Bronx, NY 10457                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.52     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,879.51    $1,879.51
          Michael Choe                                               Check all that apply.
          240-83 67th Avenue                                          Contingent
          Douglaston, NY 11363                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.53     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $315.68     $315.68
          Mohammed Uddin                                             Check all that apply.
          8004 95th Ave FL1                                           Contingent
          Ozone Park, NY 11416                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.54     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,765.81    $1,765.81
          Muhammed Foisal                                            Check all that apply.
          107-21 78th Street                                          Contingent
          Ozone Park, NY 11417                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.55     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $1,092.97    $1,092.97
          Nian Chen                                                  Check all that apply.
          117 West 90th Street Apt 3A                                 Contingent
          New York, NY 10024                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.56     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $92,111.01    $0.00
          NY City Department of Finance                              Check all that apply.
          P.O. Box 2307                                               Contingent
          New York, NY 10272-2307                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          9/10/2019                                                  tax warrant 003905344-01
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.57     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $389,362.17    $0.00
          NYS Dept of Taxation & Finance                             Check all that apply.
          Civil Enforcement – Region 4A                               Contingent
          Albany, NY 12227-0001                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     tax warrant E-049330911-W001-6
                                                                     tax warrant E-049330911-W006-8
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.58     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $1,743.52    $1,743.52
          Osiel Uribe                                                Check all that apply.
          36-13 109th St 3rd Floor                                    Contingent
          Queens, NY 11368                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.59     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $499.14     $499.14
          Pai Wen Feng                                               Check all that apply.
          1259 67th St                                                Contingent
          Brooklyn, NY 11219                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.60     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $585.02     $585.02
          Ronald A. Ortiz                                            Check all that apply.
          93-09 215th St                                              Contingent
          Queens Village, NY 11428                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.61     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $983.46     $983.46
          Roselio Serrano                                            Check all that apply.
          40 Cooper Street Apt 4A                                     Contingent
          Brooklyn, NY 11207                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.62     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,604.18    $1,604.18
          Rui Min Jiang                                              Check all that apply.
          205 Grand St                                                Contingent
          New York, NY 10013                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.63     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,819.05    $1,819.05
          Shangxin Li                                                Check all that apply.
          159-08 43 Ave                                               Contingent
          Flushing, NY 11358                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.64     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $2,210.90    $2,210.90
          Shue Ning                                                  Check all that apply.
          14105 58th Ave                                              Contingent
          Flushing, NY 11355                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.65     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $2,907.47    $2,907.47
          Sonam Dhundup                                              Check all that apply.
          4051 77th St Floor 2                                        Contingent
          Elmhurst, NY 11373                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.66     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $2,279.19    $2,279.19
          Troy Rose                                                  Check all that apply.
          718 Linwood St                                              Contingent
          Brooklyn, NY 11208                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          10/14/19 - 11/10/19                                        wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.67       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $1,731.30         $1,731.30
            Vincente Melendez Arias                                  Check all that apply.
            131 Saint Nicholas Ave                                    Contingent
            Apt. 13C                                                  Unliquidated
            New York, NY 10026                                        Disputed
            Date or dates debt was incurred                          Basis for the claim:
            10/14/19 - 11/10/19                                      wages
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.68       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $2,695.40         $2,695.40
            Wai C. Low                                               Check all that apply.
            51 New Lane                                               Contingent
            Staten Island, NY 10305                                   Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
            10/14/19 - 11/10/19                                      wages
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.69       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $1,503.51         $1,503.51
            Wei Ming Liao                                            Check all that apply.
            8210 15th Ave                                             Contingent
            Brooklyn, NY 11228                                        Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
            10/14/19 - 11/10/19                                      wages
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.70       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $2,880.65         $2,880.65
            William Cove                                             Check all that apply.
            118-82 Metropolitan Ave                                   Contingent
            Kew Gardens, NY 11415                                     Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
            10/14/19 - 11/10/19                                      wages
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes


 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim




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 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          1460 Broadway Tenant LLC                                            Contingent
          1460 Broadway                                                       Unliquidated
          New York, NY 10036                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,218,112.34
          3 BP Property Owner LLC                                             Contingent
          PO Box 781998                                                       Unliquidated
          Philadelphia, PA 19178-1998                                         Disputed
          Date(s) debt was incurred 10/9/2019
                                                                             Basis for the claim:    Landlord and Tenant Judgment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          A1 Dependable Construction Inc                                      Contingent
          132 Fieldmere St.                                                   Unliquidated
          Elmont, NY 11003                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Abraham Pollack                                                     Contingent
          253 Powers Street #1RR                                              Unliquidated
          Brooklyn, NY 11211                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ace Endico Corp.                                                    Contingent
          80 International Blvd.                                              Unliquidated
          Brewster, NY 10509                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Acker Merrall & Condit Company                                      Contingent
          160 West 72 St.                                                     Unliquidated
          New York, NY 10023                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,527.38
          Action Environmental Services                                       Contingent
          P O Box 554744                                                      Unliquidated
          Detroit, MI 48255-4744                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Advanced Printing of New York,                                      Contingent
          320 West 37th St.                                                   Unliquidated
          New York, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          AFCO                                                                Contingent
          5600 N. River Road, Suite 400                                       Unliquidated
          Rosemont, IL 60018-5187                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,266.26
          Air Clean Group Inc                                                 Contingent
          154-05 12th Avenue                                                  Unliquidated
          Whitestone, NY 11357                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          All Glass Professionals                                             Contingent
          654 Whiskey Rd                                                      Unliquidated
          Ridge, NY 11961                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $54,992.00
          All Season Hospitality                                              Contingent
          12 Breiderhoft Rd                                                   Unliquidated
          Kearny, NJ 07032                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          All Season Movers, Inc.                                             Contingent
          12 Breiderhoft Rd                                                   Unliquidated
          Kearny, NJ 07032                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,373.66
          All Service Kitchen Equipment                                       Contingent
          10 Charles St.                                                      Unliquidated
          P,O. Box 310                                                        Disputed
          New Hyde Park, NY 11040
                                                                             Basis for the claim:    supplier
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,865.72
          Alma Gourmet                                                        Contingent
          39-12 Cresent St                                                    Unliquidated
          Long Island City, NY 11101                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Alpi USA Inc.                                                       Contingent
          70 East Sunrise Hightway                                            Unliquidated
          Suite 607                                                           Disputed
          New York, NY 11581
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Alpine Construction & Landscap                                      Contingent
          404 Fifth Ave                                                       Unliquidated
          New York, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Amass International Group (New                                      Contingent
          JFK Cargo Building 75, Ste 200                                      Unliquidated
          N. Hangar Rd                                                        Disputed
          Jamaica, NY 11430
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $56,870.72
          American Express                                                    Contingent
          P.O. Box 1270                                                       Unliquidated
          Newark, NJ 07101-1270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    credit card
          Last 4 digits of account number       1006
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Andy Xu                                                             Contingent
          252-37 60th Ave.                                                    Unliquidated
          Little Neck, NY 11362                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $480.00
          Angels' Share Wine Imports, LL                                      Contingent
          106 Ferris Street #1L                                               Unliquidated
          Brooklyn, NY 11231                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Anheuser-Busch Sales & Service                                      Contingent
          550 Food Center Dr                                                  Unliquidated
          Bronx, NY 10474                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Aramark Refreshment Services                                        Contingent
          1511 Tonnelle Ave                                                   Unliquidated
          North Bergen, NJ 07047                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Arc Excess And Surplus LLC                                          Contingent
          113 South Service Rd                                                Unliquidated
          P.O.Box 9012                                                        Disputed
          Jericho, NY 11753
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,501.80
          Arista Air Conditioning Corp                                        Contingent
          38-26 10th Street                                                   Unliquidated
          Long Island City, NY 11101                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,779.88
          Asian Bok Choy, Inc.                                                Contingent
          969 Grand St                                                        Unliquidated
          Brooklyn, NY 11211                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Askbor Pty Ltd (Australia)                                          Contingent
          Level 2/ 60 Foster St.                                              Unliquidated
          Surry Hills, NSW 2010                                               Disputed
          AUSTRALIA
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Avero LLC                                                           Contingent
          235 Park Ave South                                                  Unliquidated
          7th Floor                                                           Disputed
          New York, NY 10003
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Axiom Design & Build                                                Contingent
          23 Heisser Ct                                                       Unliquidated
          Farmingdale, NY 11735                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bacchus Imports, Inc.                                               Contingent
          DBA Soilair Select                                                  Unliquidated
          150 W 30th St, Suite 706                                            Disputed
          New York, NY 10001
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bak Internationa Trade Inc.                                         Contingent
          2301 Borden Ave                                                     Unliquidated
          Long Island City, NY 11101                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,228.44
          Baldor Specialty Foods, Inc.                                        Contingent
          P.O. Box 5411                                                       Unliquidated
          New York, NY 10087-5411                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $317.60
          Balter Sales Company, Inc.                                          Contingent
          209 Bowery                                                          Unliquidated
          New York, NY 10002                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          BankDirect Capital Finance                                          Contingent
          P.O.Box 660448                                                      Unliquidated
          Dallas, TX 75266-0448                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $480.00
          Banville & Jones Wine Merchant                                      Contingent
          126 East 38th St, 3rd Floor                                         Unliquidated
          New York, NY 10016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,976.99
          Barnelap Industry/Obena Supply                                      Contingent
          31-18 38th Ave                                                      Unliquidated
          Long Island City, NY 11101                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Beijing Aijiantongyi Trading D                                      Contingent
          Rm 1026 Commercial Bldg.                                            Unliquidated
          No. 33 Dengshikou St., Beijing                                      Disputed
          CHINA
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Belle Fleur Home, LLC                                               Contingent
          134 Fifth Ave                                                       Unliquidated
          4th Floor                                                           Disputed
          New York, NY 10011
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $486.00
          Benefitmall                                                         Contingent
          P.O.Box 638246                                                      Unliquidated
          Cincinnati, OH 45263-8246                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Benjamaporn Boonroung                                               Contingent
          105 Van Cortlandt Ave W 1FL                                         Unliquidated
          Bronx, NY 10463                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,452.90
          Blue Island Oysters Co. Inc.                                        Contingent
          P.O.Box 31                                                          Unliquidated
          West Sayville, NY 11796                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Blue Moon Acres Inc.                                                Contingent
          PO Box 201                                                          Unliquidated
          Buckingham, PA 18912                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          BNP Distibuting Co Inc.                                             Contingent
          340 East 93rd Street #12J                                           Unliquidated
          New York, NY 10128                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Brewer Cantelmo LLC                                                 Contingent
          109 West 27th St                                                    Unliquidated
          New York, NY 10001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Brian J. McAnneny Consulting,                                       Contingent
          408 East 92nd                                                       Unliquidated
          Apt. 15E                                                            Disputed
          New York, NY 10128
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,652.37
          Broadway Party Rentals                                              Contingent
          134 Morgan Ave                                                      Unliquidated
          Brooklyn, NY 11237                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $107.50
          Brooklyn Food and Beverage                                          Contingent
          465 Johnson Ave                                                     Unliquidated
          Brooklyn, NY 11237                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Browne Trading                                                      Contingent
          Merril's Wharf                                                      Unliquidated
          260 Commercial St.                                                  Disputed
            04110-1000
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bulletproof Foodservice LLC                                         Contingent
          42 West Street #337                                                 Unliquidated
          Brooklyn, NY 11222                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Buonitalia                                                          Contingent
          Misono Food Ltd                                                     Unliquidated
          109 Port Jersey Blvd                                                Disputed
          Jersey City, NJ 07305
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          C&M First Services                                                  Contingent
          1560 Broadway                                                       Unliquidated
          Suite 800                                                           Disputed
          New York, NY 10036
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,821.98
          Cambridge Packing Co, Inc.                                          Contingent
          41-43 Foodmart Road                                                 Unliquidated
          Boston, MA 02118                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Carlos Loazyza                                                      Contingent
          15 Clark Rd                                                         Unliquidated
          Great Neck, NY 11021                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Catalpa Special Inspections                                         Contingent
          1270 Broadway                                                       Unliquidated
          Suite 808                                                           Disputed
          New York, NY 10001
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Catherine McDaniel                                                  Contingent
          55 West End Avenue S11H                                             Unliquidated
          New York, NY 10023                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          CEC Elevator Cab Corp.                                              Contingent
          540 Manida St                                                       Unliquidated
          Bronx, NY 10474                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Certified G. I., Inc.                                               Contingent
          623 West 51st St                                                    Unliquidated
          New York, NY 10019                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Certified of N.Y., Inc.                                             Contingent
          623 West 51st St                                                    Unliquidated
          New York, NY 10019                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Chain's Concept Management Com                                      Contingent
          Room 3011, 30/F, Tower A, Sout                                      Unliquidated
          11 Yip Hing St, Wong Chuk Hang                                      Disputed
          HONG KONG
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Chase Card Services                                                 Contingent
          PO Box 1423                                                         Unliquidated
          Charlotte, NC 28201-1423                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,206.00
          Chef's Garden Inc.                                                  Contingent
          c/o C2C Resources LLC                                               Unliquidated
          56 Perimeter Center East, Ste                                       Disputed
          Atlanta, GA 30346
                                                                             Basis for the claim:    supplier
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          CIT Group Inc.                                                      Contingent
          21146 Network Place                                                 Unliquidated
          Chicago, IL 60673-1211                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,120.00
          Citywide Elevator Consulting                                        Contingent
          US Highway 22, Suite 100A                                           Unliquidated
          Bridgewater, NJ 08807                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    elevator services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          CJI, LLC                                                            Contingent
          47 E. 88th St.                                                      Unliquidated
          New York, NY 10128                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Classic Wines Inc.                                                  Contingent
          52 Poplar Street                                                    Unliquidated
          Stamford, CT 06907                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,710.00
          CNS Enterprises, Inc.                                               Contingent
          36-02 13th St                                                       Unliquidated
          Long Island City, NY 11101                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $400.00
          Cognac One LLC                                                      Contingent
          135 East 57th St                                                    Unliquidated
          Floor 10 -Unit 86                                                   Disputed
          New York, NY 10022-2158
                                                                             Basis for the claim:    supplier
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Compeat, Inc.                                                       Contingent
          12303 Technology Blvd                                               Unliquidated
          Suite 930 D                                                         Disputed
          Austin, TX 78727
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $439.30
          Con Edison Company of N.Y. Inc                                      Contingent
          JAF Station                                                         Unliquidated
          P.O.Box 1702                                                        Disputed
          New York, NY 10116-1702
                                                                             Basis for the claim:    services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $674.17
          Cooper Electric Supply Co.                                          Contingent
          42 Cindy Lane                                                       Unliquidated
          Asbury Park, NJ 07712                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Corporate Courier New York Inc                                      Contingent
          115 W 30 St                                                         Unliquidated
          Ste 1105                                                            Disputed
          New York, NY 10001
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cort Business Services Corpora                                      Contingent
          3455 W. Sunset Rd                                                   Unliquidated
          Suite A Att: Cyrea Moroe                                            Disputed
          Las Vegas, NV 89118
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Crasse De Fer LLC/Williams Cor                                      Contingent
          1112 E Market St B22                                                Unliquidated
          Charlottesville, VA 22902                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $629.30
          Crown Castle Fiber LLC                                              Contingent
          PO Box 27135                                                        Unliquidated
          New York, NY 10087-7135                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    network services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cutting Edge Elite Inc.                                             Contingent
          96 Berry St, Suite 2                                                Unliquidated
          Brooklyn, NY 11249                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,966.10
          D'Artagnan, LLC                                                     Contingent
          600 Green Lane                                                      Unliquidated
          Union, NJ 07083                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          DaDong Investors I LLC                                              Contingent
          1500 Broadway                                                       Unliquidated
          Suite #3301                                                         Disputed
          New York, NY 10036
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          DaDong Management LLC                                               Contingent
          1500 Broadway                                                       Unliquidated
          Suite #3301                                                         Disputed
          New York, NY 10036
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Dai & Associates, P.C.                                              Contingent
          1500 Broadway                                                       Unliquidated
          22nd Floor                                                          Disputed
          New York, NY 10036
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $983.45
          Dairyland USA Corporation                                           Contingent
          P.O.Box 30943                                                       Unliquidated
          New York, NY 10087-0943                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Dana G. Gold                                                        Contingent
          1253 Mara Court                                                     Unliquidated
          Atlantic Beach, NY 11509                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Daniel D. Stevens, Inc.                                             Contingent
          7618 17th Ave.                                                      Unliquidated
          Brooklyn, NY 11214-1106                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Daniel R. Valez Jr.                                                 Contingent
          1903 E Main St                                                      Unliquidated
          Mohegan Lake, NY 10547                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $370.00
          David Bowler LLC                                                    Contingent
          119 West 23rd St, Suite 507                                         Unliquidated
          New York, NY 10011                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,048.36
          Day & Nite Refrigeration Servi                                      Contingent
          10 Charles St                                                       Unliquidated
          P.O. Box 310                                                        Disputed
          New Hyde Park, NY 11040
                                                                             Basis for the claim:    repairs
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,891.17
          Debragga & Spitler Inc.                                             Contingent
          65-77 Amity St                                                      Unliquidated
          Jersey City, NJ 07304                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Delancey Laundromat Inc.                                            Contingent
          9-11 Delancey St                                                    Unliquidated
          New York, NY 10002                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Denis Vlasov                                                        Contingent
          337 East 49th St, #22                                               Unliquidated
          New York, NY 10017                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Dept. of Finance Commissioner                                       Contingent
          P.O. Box 2307                                                       Unliquidated
          Peck Slip Station                                                   Disputed
          New York, NY 10272
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Diamond Hong INC                                                    Contingent
          211 41st St                                                         Unliquidated
          Brooklyn, NY 11232                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Dom Doria & Son Wholesale Prod                                      Contingent
          53 Orange Dr                                                        Unliquidated
          Jericho, NY 11753                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Domaine Select Wine & Spirits                                       Contingent
          105 Madison Ave, 13th Floor                                         Unliquidated
          New York, NY 10016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,213.97
          Done Right Hood & Fire Safety                                       Contingent
          P.O Box 100772                                                      Unliquidated
          Brooklyn, NY 11210                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Dong Sun River LLC                                                  Contingent
          132-35 41 Road, #12A                                                Unliquidated
          Flushing, NY 11355                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Doris Leka                                                          Contingent
          65-13 Fresh Pond Rd                                                 Unliquidated
          3rd Floor                                                           Disputed
          Ridgewood, NY 11385
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Dragon (HK) Marine Product Lim                                      Contingent
          Rm 505-06, Hing Wai Centre, #7                                      Unliquidated
          Tin Wan Praya Road                                                  Disputed
          HONG KONG
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Duclot La Vinicole LLC                                              Contingent
          P. O.BOX 101                                                        Unliquidated
          Manhasset, NY 11030                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,227.07
          Dyami Architecture PC                                               Contingent
          80 Red Schoolhouse Rd                                               Unliquidated
          Suite 105                                                           Disputed
          Chestnut Ridge, NY 10977
                                                                             Basis for the claim:    services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          E Realty Corp                                                       Contingent
          39-07 Prince St #6E                                                 Unliquidated
          Flushing, NY 11354                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          E.B. Cohen & Assoc. A.A.LLC                                         Contingent
          101 Eisenhower Parkway                                              Unliquidated
          Roseland, NJ 07068                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          E.I. Studio Inc.                                                    Contingent
          43-01 21st St                                                       Unliquidated
          Ste. 220 B                                                          Disputed
          Long Island City, NY 11101
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          East West Bank                                                      Contingent
          135 N. Los Robles                                                   Unliquidated
          Suite 200                                                           Disputed
          Pasadena, CA 91101
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ecolab Food Safety                                                  Contingent
          24198 Network Pl                                                    Unliquidated
          Chicago, IL 60673-1241                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $901.81
          Ecolab Inc.                                                         Contingent
          P.O. Box 32027                                                      Unliquidated
          New York, NY 10087                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    equipment lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $580.22
          Ecolab Institutional                                                Contingent
          24198 Network Place                                                 Unliquidated
          Chicago, IL 60673-1241                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Economic & Policy Resources, I                                      Contingent
          P.O. Box 1660                                                       Unliquidated
          Williston, VT 05495-1660                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Element Seafood                                                     Contingent
          Wet Seafood Corp. DBA Element                                       Unliquidated
          50 Franklin Avenue                                                  Disputed
          Brooklyn, NY 11205
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Elias Rodriguez                                                     Contingent
          374 West 127th st #3F                                               Unliquidated
          New York, NY 10024                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ellias B. Cohen & Associates                                        Contingent
          101 Elsenhower Parkway                                              Unliquidated
          Roseland, NJ 07068                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,295.15
          Empire Merchants, LLC                                               Contingent
          16 Bridgewater St                                                   Unliquidated
          Brooklyn, NY 11222                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Empire Sign Display, Inc.                                           Contingent
          314b W 36th St                                                      Unliquidated
          New York, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Environmental Temperature Syst                                      Contingent
          111 Roosvelt Ave                                                    Unliquidated
          Suite C                                                             Disputed
          Mineola, NY 11501
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Erik Wangkanusa                                                     Contingent
          8104 45th Ave                                                       Unliquidated
          Elmhurst, NY 11373                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Euro Ceramica Inc.                                                  Contingent
          103 William St, Suite 11                                            Unliquidated
          Boonton, NJ 07005                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Euro Maintenance Inc.                                               Contingent
          64-34 Palmetto Street                                               Unliquidated
          Ridgewood, NY 11385                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,387.06
          F. Rozzo & Sons                                                     Contingent
          159 Ninth Ave                                                       Unliquidated
          New York, NY 10011                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Federman Steifman LLP                                               Contingent
          220 East 42nd street, 29th FL                                       Unliquidated
          New York, NY 10017                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          FEDEX                                                               Contingent
          P.O.Box 223125                                                      Unliquidated
          Pittsburgh, PA 15251-2125                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          FEDEX                                                               Contingent
          P.O.Box 371461                                                      Unliquidated
          Pittsburgh, PA 15250-7461                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Finance Commissioner, NYC                                           Contingent
          P.O. Box 2307                                                       Unliquidated
          Peck Slip Station                                                   Disputed
          New York, NY 10272
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fire Masters                                                        Contingent
          506 10th Ave                                                        Unliquidated
          East Northport, NY 11731                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,550.95
          Fish Co                                                             Contingent
          PO BOX 1529                                                         Unliquidated
          Long Island City, NY 11101                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fisher Harris Shapiro Inc.                                          Contingent
          880 Third Ave                                                       Unliquidated
          New York, NY 10022                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fleur Seule LLC                                                     Contingent
          311 West 47th St                                                    Unliquidated
          Apt. 1B                                                             Disputed
          New York, NY 10036
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Floralia Events Inc.                                                Contingent
          150 West 55th St                                                    Unliquidated
          New York, NY 10019                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Forthave Spirits                                                    Contingent
          630 Flushing Ave. Box #19                                           Unliquidated
          Brooklyn, NY 11206                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $483.00
          Fox Rothschild LLP                                                  Contingent
          Attn: Accounts Receivable - 60                                      Unliquidated
          2000 Market Street, 20th Floor                                      Disputed
          Philadelphia, PA 19103-3222
                                                                             Basis for the claim:    legal services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $560.00
          Frederick Wildman & Sons, Ltd                                       Contingent
          307 East 53rd St                                                    Unliquidated
          New York, NY 10022                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fresco Products Inc.                                                Contingent
          5626 Post Rd                                                        Unliquidated
          Bronx, NY 10471                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fruit of the Vines, Inc.                                            Contingent
          51-02 Vernon Blvd                                                   Unliquidated
          Long Island City, NY 11101                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          G.A.F.Seelig, Inc.                                                  Contingent
          59-05 52nd Ave                                                      Unliquidated
          Woodside, NY 11377                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Gabriela Fine Wines                                                 Contingent
          305 West, 87th St #1                                                Unliquidated
          New York, NY 10024                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          George Breslaw Plumbing LLC                                         Contingent
          559 West 45th St                                                    Unliquidated
          New York, NY 10036                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          George Wong Design, Inc.                                            Contingent
          104 W 14 St                                                         Unliquidated
          Suite 502                                                           Disputed
          New York, NY 10011
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Giovanni Flores                                                     Contingent
          278 Suydam Street Apt 3R                                            Unliquidated
          Brooklyn, NY 11237                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Gotham Artisanal                                                    Contingent
          56-36 59th St                                                       Unliquidated
          Maspeth, NY 11378                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,867.56
          Gotham Seafood Corporation                                          Contingent
          542 West 29th Street                                                Unliquidated
          New York, NY 10001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Gourmet Cargo, LLC                                                  Contingent
          642 Fayette Ave                                                     Unliquidated
          Mamaroneck, NY 10543                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $983.27
          Grainger, Inc.                                                      Contingent
          Dept. 886814391                                                     Unliquidated
          Palatine, IL 60038-0001                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Cru Selections, LLC                                           Contingent
          5 West 19th Street, Suite 3R                                        Unliquidated
          New York, NY 10011                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,442.59
          Green Oil Recycling Inc.                                            Contingent
          PO Box 100772                                                       Unliquidated
          Brooklyn, NY 11210                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    grease trap cleaner
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Greenberg, Trager & Herbst, LL                                      Contingent
          767 Third Avenue, 12th FL                                           Unliquidated
          New York, NY 10017                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Guan Dong Yi Jia INC                                                Contingent
          4609 Kissena Blvd                                                   Unliquidated
          Flushing, NY 11355                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,800.00
          Hall PR LLC                                                         Contingent
          161 W 23rd St                                                       Unliquidated
          3rd Floor                                                           Disputed
          New York, NY 10011
                                                                             Basis for the claim:    public relations services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Halperns Steak & Seafood Compa                                      Contingent
          601 Kentile Road                                                    Unliquidated
          South Plainfield, NJ 07080                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          High Style Rentals                                                  Contingent
          445 Sills Road Suite #3F                                            Unliquidated
          Yaphank, NY 11980                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          HNY Consulting Engineers, LLC                                       Contingent
          PO Box 785566                                                       Unliquidated
          Philadelphia, PA 19178-5566                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,258.28
          Hobart Service                                                      Contingent
          P.O. Box 2517                                                       Unliquidated
          Carol Stream, IL 60132                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    maintenance and repairs of foodservice equipment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hongmei Zhang                                                       Contingent
          7 Hedgerow Lane                                                     Unliquidated
          Jericho, NY 11753                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,016.81
          I.Halper Paper & Supplies Inc.                                      Contingent
          51 Hook Road                                                        Unliquidated
          Bayonne, NJ 07002                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          I.M.Plumbing & Heating Corp.                                        Contingent
          412 8th Avenue, 2nd Floor                                           Unliquidated
          New York, NY 10001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,267.61
          ICC                                                                 Contingent
          519 8th Avenue, 4th Floor                                           Unliquidated
          New York, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    IT services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $407.22
          Illy Caffe North America, Inc.                                      Contingent
          PO Box 29917                                                        Unliquidated
          New York, NY 10087                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Imp Plumbing & Heating                                              Contingent
          412 8th Ave                                                         Unliquidated
          7th Floor                                                           Disputed
          New York, NY 10001
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Independence Wine & Spirits                                         Contingent
          165 Elleen Way                                                      Unliquidated
          Suite D                                                             Disputed
          Syosset, NY 11791
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Innovative Communication Conce                                      Contingent
          519 8th Avenue                                                      Unliquidated
          New York, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,960.59
          IPFS Corporation                                                    Contingent
          P.O. Box 700                                                        Unliquidated
          Amherst, NY 14226-0700                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          IPO Wines, LLC                                                      Contingent
          119 West 23rd St                                                    Unliquidated
          Suite 803                                                           Disputed
          New York, NY 10011
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ipromoteu                                                           Contingent
          P.O. Box 200896                                                     Unliquidated
          Pittsburgh, PA 15251-0896                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Iron Bridge Consulting, LLC                                         Contingent
          22 Cortlandt St                                                     Unliquidated
          Suite 1701                                                          Disputed
          New York, NY 10007
                                                                             Basis for the claim:    consulting services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          J&M Custom Sheet Metal, LLC                                         Contingent
          1331 New Brooklyn Rd                                                Unliquidated
          Erial, NJ 08081                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Jacobs Doland Beer LLC                                              Contingent
          192 Lexington Avenue                                                Unliquidated
          Suite 804                                                           Disputed
          New York, NY 10016
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Jacqueline Ribas Tudeme                                             Contingent
          40 West 116 St                                                      Unliquidated
          Apt a607                                                            Disputed
          New York, NY 11206
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,000.00
          JAM Consultants Inc.                                                Contingent
          104 West 29th St                                                    Unliquidated
          9th Floor                                                           Disputed
          New York, NY 10001
                                                                             Basis for the claim:    consulting services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,999.28
          JDB Market Corp dba John's Mar                                      Contingent
          25-20 50th Ave                                                      Unliquidated
          Long Island City, NY 11101                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,276.48
          Jia Law Group                                                       Contingent
          225 Broadway, 17th Floor                                            Unliquidated
          New York, NY 10007                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    legal services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Jian Feng Ren                                                       Contingent
          Riva R82                                                            Unliquidated
          7 Hedgerow Lane                                                     Disputed
          Jericho, NY 11753
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Jiang Du                                                            Contingent
          88 Morgan St                                                        Unliquidated
          Apt. 4206                                                           Disputed
          Jersey City, NJ 07302
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Jin Tao Chen & Sau Kuen Wong                                        Contingent
          143 Bay 29th St                                                     Unliquidated
          2nd Floor                                                           Disputed
          Brooklyn, NY 11214
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          JMart Group                                                         Contingent
          136-20 Rossevelt Ave                                                Unliquidated
          Flushing, NY 11354                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,850.00
          Joe Jurgielewiczvson Ltd.                                           Contingent
          P.O. Box 257                                                        Unliquidated
          Shartlesville, PA 19554                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Johana Langi                                                        Contingent
          3555 38th St                                                        Unliquidated
          Long Island City, NY 11101                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,828.46
          John's Gourmet Food Service                                         Contingent
          P.O. Box 740454                                                     Unliquidated
          Bronx, NY 10471                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Julius Silvert Inc.                                                 Contingent
          231 E. Luzerne St                                                   Unliquidated
          Philadelphia, PA 19124                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Justin Systems, Inc.                                                Contingent
          9433 Bee Cave Road                                                  Unliquidated
          Building II, Suite 102                                              Disputed
          Austin, TX 78733
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          K H Wurtz v/Kasper Heie Wurtz                                       Contingent
          Kirkebakken 41 Hatting -                                            Unliquidated
          8700 Horsens                                                        Disputed
          DENMARK
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kaback Service Inc.                                                 Contingent
          318 West 39th Street, 2nd FL                                        Unliquidated
          New York, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kaisen INC.                                                         Contingent
          41 Schermerhorn St.                                                 Unliquidated
          Brooklyn, NY 11201                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kanawati Enterprises                                                Contingent
          249 Lodi St.                                                        Unliquidated
          Hackensack, NJ 07601                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kimmie Kakes LLC                                                    Contingent
          270 W 38th St                                                       Unliquidated
          Suite #1704                                                         Disputed
          New York, NY 10018
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kinson Wholesale, INC.                                              Contingent
          33 West 19th street, 4th FL                                         Unliquidated
          New York, NY 10011                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          KOP KG One LLC                                                      Contingent
          750 Lexington Ave                                                   Unliquidated
          New York, NY 10022                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    retainer to Akerman LLP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kristian Rodriguez                                                  Contingent
          212 West 91 St Apt 923                                              Unliquidated
          New York, NY 10024                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kuafu Properties. LLC                                               Contingent
          1500 Broadway                                                       Unliquidated
          Suite#2202                                                          Disputed
          New York, NY 10036
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $577.04
          L&T Restaurant Equipment Inc.                                       Contingent
          62 Allen St                                                         Unliquidated
          New York, NY 10002                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Laurel Lake Vineyards                                               Contingent
          3165 Main Road                                                      Unliquidated
          Laurel, NY 11948                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $453.37
          Level 3 Communications, LLC                                         Contingent
          PO Box 910182                                                       Unliquidated
          Denver, CO 80291-0182                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Li, Rui Ying                                                        Contingent
          4260 Main St                                                        Unliquidated
          Flushing, NY 11355                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Liberty Coca-Cola LLC                                               Contingent
          PO Box 780810                                                       Unliquidated
          Philadelphia, PA 19178                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Lin Zhu                                                             Contingent
          144-15 41st Apt 418                                                 Unliquidated
          Flushing, NY 11355                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,701.75
          Linear Technologies, Inc.                                           Contingent
          259 West 30th St                                                    Unliquidated
          Suite 201                                                           Disputed
          New York, NY 10001
                                                                             Basis for the claim:    services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Liu, WenLi                                                          Contingent
          1604 80th Street, Floor 1                                           Unliquidated
          Brooklyn, NY 11214                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          LLL International Travel Inc.                                       Contingent
          136-21 Roosevelt Ave.                                               Unliquidated
          Suite#211                                                           Disputed
          Flushing, NY 11354
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Longyu Gao                                                          Contingent
          206 E 10th St. Apt D                                                Unliquidated
          New York, NY 10003                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Lu Xiao                                                             Contingent
          47-28 11th Street Apt 6D                                            Unliquidated
          Long Island City, NY 11101                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Lutron Services Co                                                  Contingent
          P.O. Box 644396                                                     Unliquidated
          Pittsburgh, PA 15264-4396                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,449.39
          M. Tucker                                                           Contingent
          150 South Twin Valley Rd                                            Unliquidated
          Elverson, PA 19520                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $448.00
          M.S. Walker, Inc.                                                   Contingent
          975 University Ave.                                                 Unliquidated
          Norwood, MA 02062                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mac Felder Inc.                                                     Contingent
          610 11 Ave                                                          Unliquidated
          New York, NY 10036                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Madison Fisher                                                      Contingent
          914 Bergen St.                                                      Unliquidated
          Apt. 3                                                              Disputed
          Brooklyn, NY 11238
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Main Street Wholesale Meats                                         Contingent
          210 Main St                                                         Unliquidated
          Farmingdale, NY 11735                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $263.19
          Manhattan Beer Distributors                                         Contingent
          955 East 149th St                                                   Unliquidated
          Bronx, NY 10455-2097                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Marshall-Alan Associates, Inc.                                      Contingent
          5 West 37th Street                                                  Unliquidated
          Suite# 800                                                          Disputed
          New York, NY 10018
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Maspeth Welding, Inc.                                               Contingent
          59-30 54th St                                                       Unliquidated
          Maspeth, NY 11378                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Massanols, LLC                                                      Contingent
          443 Park Avenue South                                               Unliquidated
          Suite 700                                                           Disputed
          New York, NY 10016
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Master Fire Extinguishers, Inc                                      Contingent
          1776 East Tremont Ave                                               Unliquidated
          Bronx, NY 10460                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Maxine Kabol Special Events                                         Contingent
          50 Lexington Ave                                                    Unliquidated
          Suite 17 E                                                          Disputed
          New York, NY 10010
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mayim Water Inc.                                                    Contingent
          111 John Street, Suite 1610                                         Unliquidated
          New York, NY 10038                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mckinney Welding Supply Co., I                                      Contingent
          1145 Bronx River Ave                                                Unliquidated
          Bronx, NY 10472                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Merak Business & Travel Consul                                      Contingent
          Skansevaenget 12                                                    Unliquidated
          3520 Farum                                                          Disputed
          DENMARK
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Meredith Suzuki LLC                                                 Contingent
          140 E 16th Street #1A                                               Unliquidated
          New York, NY 10003                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Metro Sign & Design Communicat                                      Contingent
          22-00 Arcadia Road                                                  Unliquidated
          Fair Lawn, NJ 07410                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Michael Jordan                                                      Contingent
          142 East 16th St                                                    Unliquidated
          Apt. 3D                                                             Disputed
          New York, NY 10003
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Michael Leo                                                         Contingent
          5916 Woodside Ave                                                   Unliquidated
          Apt 1R                                                              Disputed
          Woodside, NY 11377
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Michael Scaffidi                                                    Contingent
          365 Bond A510                                                       Unliquidated
          Brooklyn, NY 11231                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          MicroMagic Co., Inc.                                                Contingent
          2640 East 14th Street, Unit C2                                      Unliquidated
          Brooklyn, NY 11235                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          moddern marketing services, LL                                      Contingent
          340 Madison Ave                                                     Unliquidated
          19th Floor                                                          Disputed
          New York, NY 10173
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Monsieur Touton Selection, Ltd                                      Contingent
          129 West 27th Street, 9th FL                                        Unliquidated
          New York, NY 10001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          MP Fish LLC                                                         Contingent
          5-18 50th Ave                                                       Unliquidated
          Long Island City, NY 11101                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mushrooms & More                                                    Contingent
          37 Fulton Street                                                    Unliquidated
          White Plains, NY 10606                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          National Register Agents                                            Contingent
          P.O. Box 4349                                                       Unliquidated
          Carol Stream, IL 60197-4349                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          NCR Corporation                                                     Contingent
          108 W 39th St                                                       Unliquidated
          New York, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          New York State Liquor Authorit                                      Contingent
          117 Broadway                                                        Unliquidated
          Albany, NY 12202                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          NJS Electrical Services Corp.                                       Contingent
          36-16 13th St                                                       Unliquidated
          Long Island City, NY 11106                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,178.24
          North East Linen Supply                                             Contingent
          P.O.Box 984003                                                      Unliquidated
          Boston, MA 02298-4003                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          NRAI, Inc.                                                          Contingent
          PO Box 4349                                                         Unliquidated
          Carol Stream, IL 60197-4349                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $115.00
          NYC & Company INC                                                   Contingent
          810 Seventh Avenue, 3rd Floor                                       Unliquidated
          New York, NY 10019                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    marketing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          NYC DOHMH                                                           Contingent
          Division of Payments                                                Unliquidated
          P.O. Box 787656                                                     Disputed
          Philadelphia, PA 19178-7656
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $315.00
          NYC Fire Department                                                 Contingent
          Church Street Station                                               Unliquidated
          PO Box 840                                                          Disputed
          New York, NY 10008-0840
                                                                             Basis for the claim:    services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          NYC Fire Department                                                 Contingent
          PO Box 412014                                                       Unliquidated
          Boston, MA 02241-2014                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          NYC Hospitality Alliance                                            Contingent
          65 West 55th St                                                     Unliquidated
          STE 203A                                                            Disputed
          New York, NY 10019
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Oasis                                                               Contingent
          7 Pennsylvania Plaza #305                                           Unliquidated
          New York, NY 10001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Okeanos Aquascaping                                                 Contingent
          521 W 26th St                                                       Unliquidated
          Suite #600                                                          Disputed
          New York, NY 10001
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Open Table                                                          Contingent
          29109 Network Place                                                 Unliquidated
          Chicago, IL 60673-1291                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Opici Family Distributing                                           Contingent
          3 Manhattanville Rd                                                 Unliquidated
          Purchase, NY 10577                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Other Half Brewing Company, In                                      Contingent
          195 Centre St                                                       Unliquidated
          Brooklyn, NY 11231                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Paris Gourmet Of N.Y. LLC                                           Contingent
          PO Box 36242                                                        Unliquidated
          Newark, NJ 07188-6242                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $290.00
          Park Street Imports                                                 Contingent
          1000 Brickell Ave. Ste 915                                          Unliquidated
          Miami, FL 33131                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Parker Ginn Marvin                                                  Contingent
          88 Greenwich St #2602                                               Unliquidated
          New York, NY 10006                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,790.27
          Pat Lafrieda Meat Purveyors                                         Contingent
          3701 Tonnelle Ave                                                   Unliquidated
          North Bergen, NJ 07047                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,072.42
          Patriot Electric Corp                                               Contingent
          15-17 126 St                                                        Unliquidated
          College Point, NY 11356                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    electrical services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Paul Jambor                                                         Contingent
          50 Franklin Ave                                                     Unliquidated
          Brooklyn, NY 11205                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Paychex of New York LLC                                             Contingent
          Lockbox #732954                                                     Unliquidated
          P.O.Box 732954                                                      Disputed
          Dallas, TX 75373-2954
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Petit Pois Corporation                                              Contingent
          Sussex Wine Merchants                                               Unliquidated
          50 Twosome Dr., Suite 3                                             Disputed
          Moorestown, NJ 08057
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,500.00
          Petrossian Distribution, Inc.                                       Contingent
          11-39 47th Ave                                                      Unliquidated
          Long Island City, NY 11101                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Piccinini Brothers, Inc.                                            Contingent
          633 9th Ave                                                         Unliquidated
          New York, NY 10036                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $174.20
          Pipe Drems                                                          Contingent
          857 Union Street 2-C                                                Unliquidated
          Brooklyn, NY 11215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,925.74
          Po Wing Trading Corp.                                               Contingent
          123 Banker St                                                       Unliquidated
          Brooklyn, NY 11222                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Polaner Selections                                                  Contingent
          19 N. Moger Ave.                                                    Unliquidated
          Mount Kisco, NY 10549                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Popular Plumbing and Heating C                                      Contingent
          10 Charles St.                                                      Unliquidated
          P.O. Box 310                                                        Disputed
          New Hyde Park, NY 11040
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $41,000.00
          Prager Metis CPAs, LLC                                              Contingent
          14 Penn Plaza                                                       Unliquidated
          Suite #1800                                                         Disputed
          New York, NY 10122
                                                                             Basis for the claim:    accounting services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Print Scan LLC                                                      Contingent
          21 Pulaski Road                                                     Unliquidated
          Kings Park                                                          Disputed
          Kings Park, NY 11754
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Private Cask Imports/MHW Ltd                                        Contingent
          1129 Northern Blvd                                                  Unliquidated
          Manhasset, NY 11030                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Pro Tapping, Inc.                                                   Contingent
          620 Gravelly Hollow Rd                                              Unliquidated
          Medford, NJ 08055                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,504.79
          Quality Building Services Corp                                      Contingent
          801 2nd Ave                                                         Unliquidated
          New York, NY 10017                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Randall Fayette Bellows III                                         Contingent
          475 Kent Ave.                                                       Unliquidated
          Apt. 302                                                            Disputed
          Brooklyn, NY 11249
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Receivables Performance Manage                                      Contingent
          PO Box 1548                                                         Unliquidated
          Lynnwood, WA 98046-1548                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Regal Wine Imports                                                  Contingent
          636 Broadway, Suite 712                                             Unliquidated
          New York, NY 10012                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Regal Wine Imports Inc.                                             Contingent
          2 Commerce Drive, Suite 3                                           Unliquidated
          Moorestown, NJ 08057                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ridge Produce Inc.                                                  Contingent
          P.O. Box 740454                                                     Unliquidated
          Bronx, NY 10474                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,676.59
          Riviera Produce Corp.                                               Contingent
          205 Jackson St                                                      Unliquidated
          Englewood, NJ 07631                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Rocket and Walker Inc.                                              Contingent
          379 West Broadway, 2nd Floor                                        Unliquidated
          New York, NY 10012                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Rocket and Walker Inc.                                              Contingent
          175 Varick                                                          Unliquidated
          2nd Floor                                                           Disputed
          New York, NY 10014
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Royal Wine Company                                                  Contingent
          63-65 Le Fante Way                                                  Unliquidated
          P.O. Box 17                                                         Disputed
          Bayonne, NJ 07002-0017
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          RRP Plumbing Corp.                                                  Contingent
          222 East Meadow Ave                                                 Unliquidated
          Suite 2B                                                            Disputed
          East Meadow, NY 11554
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,874.05
          S.K.I. Beer Corp.                                                   Contingent
          169 Bar Gardner Ave                                                 Unliquidated
          Brooklyn, NY 11237                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Scarlett Enterainment INC                                           Contingent
          5550 Painted Mirage Rd.                                             Unliquidated
          Suite 320                                                           Disputed
          Las Vegas, NV 89149
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $120.94
          Scheman's Bryant Park                                               Contingent
          55 West 39th St                                                     Unliquidated
          New York, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Security Services Inc.                                              Contingent
          5 Johson Dr                                                         Unliquidated
          Stony Point, NY 10980                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Selection Pas Mal                                                   Contingent
          285 West Broadway, Suite 330                                        Unliquidated
          New York, NY 10013                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sentinel Management Group, Inc                                      Contingent
          96-59 222nd Street, Suite#200                                       Unliquidated
          Queens Village, NY 11429                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Shawmut Design and Constructio                                      Contingent
          3 East 54th St                                                      Unliquidated
          10th Floor                                                          Disputed
          New York, NY 10022
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          ShelterPoint Life                                                   Contingent
          PO Box 9340                                                         Unliquidated
          Garden City, NY 11530                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          ShiftNote LLC                                                       Contingent
          P.O. Box 24392                                                      Unliquidated
          Shawnee Mission, KS 66283-4392                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Shin Kanemitsu                                                      Contingent
          239 East 110st #1                                                   Unliquidated
          New York, NY 10029                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Singer Equipment Co., Inc.                                          Contingent
          150 South Twin Valley Rd                                            Unliquidated
          Elverson, PA 19520-9387                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Skurnik Wines                                                       Contingent
          PO Box 1315                                                         Unliquidated
          Syosset, NY 11791-1315                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Small Tell and Son, Inc.                                            Contingent
          300 Smith St.                                                       Unliquidated
          Farmingdale, NY 11735                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Smartsheet Inc.                                                     Contingent
          Dept 3421                                                           Unliquidated
          PO Box 123421                                                       Disputed
          Dallas, TX 75312-3421
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Soilair Selections                                                  Contingent
          150 West 30th St                                                    Unliquidated
          Suite 706                                                           Disputed
          New York, NY 10001
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          SommPicks LLC                                                       Contingent
          548 Market St, #89930                                               Unliquidated
          San Francisco, CA 94104-5401                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,055.27
          Southern Glazer's Wine And Spi                                      Contingent
          PO Box 3143                                                         Unliquidated
          Hicksville, NY 11802                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $853.58
          Spectra Audio Design Group, LT                                      Contingent
          12 West 21th St                                                     Unliquidated
          New York, NY 10010                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $267.00
          Spectrio LLC                                                        Contingent
          P.O. Box 28289-0271                                                 Unliquidated
          Charlotte, NC 28289-0271                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $109.98
          Spectrum                                                            Contingent
          PO Box 223085                                                       Unliquidated
          Pittsburgh, PA 15251-2085                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services
          Last 4 digits of account number       1101
                                                                             Is the claim subject to offset?    No  Yes
 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Standard Pest Managment                                             Contingent
          2580 Stainway St.                                                   Unliquidated
          Long Island City, NY 11103                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Standard Security Life Ins. Co                                      Contingent
          PO Box 2875                                                         Unliquidated
          Clinton, IA 52733-2875                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Stark Products Co., Inc.                                            Contingent
          29-14 122nd St                                                      Unliquidated
          College Point, NY 11354                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          State of Delaware                                                   Contingent
          401 Federal St #4                                                   Unliquidated
          Dover, DE 19901                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,742.69
          Statewide Fire Corp.                                                Contingent
          1 Teleport Drive - Suite 202                                        Unliquidated
          Staten Island, NY 10311                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Stratford Engineering LLC                                           Contingent
          321 Broadway                                                        Unliquidated
          5th Floor                                                           Disputed
          New York, NY 10007
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,797.37
          Sysco Metro New York, LLC                                           Contingent
          20 Theodore Conrad Dr                                               Unliquidated
          Jersey City, NJ 07305                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          T Edward Wines Ltd                                                  Contingent
          PO Box 242                                                          Unliquidated
          Gardiner, NY 12525                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,268.00
          T. Elenteny Imports LLC                                             Contingent
          285 West Broadway, Suite 500                                        Unliquidated
          New York, NY 10013                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,635.58
          Tai He Trading Corp.                                                Contingent
          32-33 Hunters Point Ave                                             Unliquidated
          Long Island City, NY 11101                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tamika Fraser                                                       Contingent
          30 W. 90th St                                                       Unliquidated
          Apt. 1C                                                             Disputed
          New York, NY 10024
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Teng Tea LLC                                                        Contingent
          123 East 7th St                                                     Unliquidated
          New York, NY 10009                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          TGI Office Automation, Inc.                                         Contingent
          120 3rd St                                                          Unliquidated
          Brooklyn, NY 11231                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Chef Agency                                                     Contingent
          Stevens and Company LLC                                             Unliquidated
          275 Madison Ave, 24th Floor                                         Disputed
          New York, NY 10016
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,277.93
          The Chef's Garden, Inc.                                             Contingent
          9009 Huron Avery Rd                                                 Unliquidated
          Huron, OH 44839                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,520.21
          The Lobster Place Inc.                                              Contingent
          75 9th Ave                                                          Unliquidated
          New York, NY 10011                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,473.75
          The Weeks Lerman Group                                              Contingent
          5838 Page Pl                                                        Unliquidated
          Maspeth, NY 11378                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number       1283
                                                                             Is the claim subject to offset?    No  Yes
 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          The Wine Trust                                                      Contingent
          464 Heritage Rd                                                     Unliquidated
          Suite G                                                             Disputed
          Southbury, CT 06488
                                                                             Basis for the claim:    supplier
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tiger & Fox 3 LLC                                                   Contingent
          c/o Jinmei Yang                                                     Unliquidated
          49 Hillside Drive,                                                  Disputed
          Greenwich, CT 06830
                                                                             Basis for the claim:    Promissory Note
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Time Warner Cable                                                   Contingent
          Box 223085                                                          Unliquidated
          Pittsburgh, PA 15251-2085                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,392.49
          To Rise LLC                                                         Contingent
          118-40 Montauk St                                                   Unliquidated
          Saint Albans, NY 11412                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tongda Travel Inc.                                                  Contingent
          133-20 Avery Ave 6B                                                 Unliquidated
          Flushing, NY 11355                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tonglu Harmonious Landscape St                                      Contingent
          No.99 Long Tan Road                                                 Unliquidated
          Cheng Nan Street, Hangzhou                                          Disputed
          CHINA
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,089.27
          Total Fire Protection                                               Contingent
          5322 Avenue N                                                       Unliquidated
          Brooklyn, NY 11234                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Total Quality Fire & Security                                       Contingent
          135 West 29th St.                                                   Unliquidated
          Suite 601                                                           Disputed
          New York, NY 10001
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tradizione Imports                                                  Contingent
          205 E. 42nd St                                                      Unliquidated
          20th Floor                                                          Disputed
          New York, NY 10017
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Transperfect Translations Int'                                      Contingent
          3 Park Avenue, 39th Floor                                           Unliquidated
          New York, NY 10016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Travelers Insurance                                                 Contingent
          PO Box 660317                                                       Unliquidated
          Dallas, TX 75266                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tri State Carbonation Service                                       Contingent
          P.O.Box 333                                                         Unliquidated
          Thompsonville, NY 12784                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    equipment lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,028.87
          Tripleseat Software                                                 Contingent
          50 Beharrell St, Suite B                                            Unliquidated
          Concord, MA 01742                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $33,365.33
          True World Foods New York LLC                                       Contingent
          32-34 Papetti Plaza                                                 Unliquidated
          Elizabeth, NJ 07206                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number       D100
                                                                             Is the claim subject to offset?    No  Yes
 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,651.50
          Uline, Inc.                                                         Contingent
          Attn: Accounts Receivable                                           Unliquidated
          PO Box 88741                                                        Disputed
          Chicago, IL 60680-1741
                                                                             Basis for the claim:    supplier
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Union Beer Distributors                                             Contingent
          1213-17 Grand Street                                                Unliquidated
          Brooklyn, NY 11211                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Union Security Life Insurance                                       Contingent
          21189 Network Place                                                 Unliquidated
          Chicago, IL 60673-1211                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          United Healthcare Oxford                                            Contingent
          P.O. Box 1697                                                       Unliquidated
          Newark, NJ 07101-1697                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Universal Background Sreening,                                      Contingent
          P.O. Box 5920                                                       Unliquidated
          Scottsdale, AZ 85261                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Universal Plumbing Inc.                                             Contingent
          214 N Fehr Way Ste B                                                Unliquidated
          Bay Shore, NY 11706                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          US Dept of Homeland Security                                        Contingent
          208 E 51st St                                                       Unliquidated
          New York, NY 10022                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,996.75
          US Foods                                                            Contingent
          1051 Amboy Ave                                                      Unliquidated
          Perth Amboy, NJ 08861                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $432.00
          USA Wine Imports, Inc.                                              Contingent
          285 West Broadway, Suite #330                                       Unliquidated
          New York, NY 10013                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Val's Ocean Pacific                                                 Contingent
          624 Worthen St.                                                     Unliquidated
          Bronx, NY 10474                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Van Deusen & Associates, Inc.                                       Contingent
          120 Eagle Rock Ave                                                  Unliquidated
          Suite #310                                                          Disputed
          East Hanover, NJ 07936
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vandenberg & Feliu, LLP                                             Contingent
          60 East 42nd St                                                     Unliquidated
          51st Floor                                                          Disputed
          New York, NY 10165
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,400.00
          VDA LLC                                                             Contingent
          120 Eagle Rock Ave                                                  Unliquidated
          Suite 310                                                           Disputed
          East Hanover, NJ 07936
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Verity Wine LLC                                                     Contingent
          PO Box 1826                                                         Unliquidated
          New York, NY 10156                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $417.51
          Verizon                                                             Contingent
          PO Box 15124                                                        Unliquidated
          Albany, NY 12212-5124                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vesta (Guangzhou) Catering Equ                                      Contingent
          Huaqiao Science&Technology Par                                      Unliquidated
          Huadu District Guangzhou, PR 5                                      Disputed
          CHINA
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vintus LLC                                                          Contingent
          42 Memorial Plaza                                                   Unliquidated
          Pleasantville, NY 10570                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vipin Goyal                                                         Contingent
          119 King St                                                         Unliquidated
          Brooklyn, NY 11231                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,008.78
          Vista Food Exchange, Inc.                                           Contingent
          B 101 Food Center Arcadem                                           Unliquidated
          Hunts Point Co-Op Market                                            Disputed
          Bronx, NY 10474
                                                                             Basis for the claim:    supplier
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,198.00
          Vos Selections                                                      Contingent
          555 8th Ave                                                         Unliquidated
          Suite 1209                                                          Disputed
          New York, NY 10018
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $799.68
          Vranken Pommery                                                     Contingent
          12 East 33rd St                                                     Unliquidated
          7th Floor                                                           Disputed
          New York, NY 10016
                                                                             Basis for the claim:    supplier
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,500.00
          Waterlogic USA INC.                                                 Contingent
          P.O. Box 677867                                                     Unliquidated
          Dallas, TX 75267                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    equipment lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Weeks-Lerman Group, LLC                                             Contingent
          58-38 Page Place                                                    Unliquidated
          P.O.Box 0                                                           Disputed
          Maspeth, NY 11378
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Well Port Container Line Inc.                                       Contingent
          161-15 Rockaway Blvd                                                Unliquidated
          Suite #308                                                          Disputed
          Jamaica, NY 11434
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          White Coffe                                                         Contingent
          18-35 Stainway Place                                                Unliquidated
          P.O. Box 5189                                                       Disputed
          Long Island City, NY 11105
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Willis of New York, Inc.                                            Contingent
          P.O. Box 4557                                                       Unliquidated
          New York, NY 10249-4557                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Wilson Daniels Wholesale LLC.                                       Contingent
          19 W 24th 7th Floor                                                 Unliquidated
          New York, NY 10010                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Wine Symphony, Inc.                                                 Contingent
          580 Broadway. Rm 508                                                Unliquidated
          New York, NY 10012                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,109.50
          Winebow, Inc.                                                       Contingent
          d/b/a Martin Scott Wines                                            Unliquidated
          31 West 27th Street, 7th Floor                                      Disputed
          New York, NY 10001
                                                                             Basis for the claim:    supplier
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Winzone Realty Inc.                                                 Contingent
          81-15 Queens Blvd                                                   Unliquidated
          Elmhurst, NY 11373                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,173.00
          Wizard Studios North, Inc.                                          Contingent
          305 Ten Eyck St                                                     Unliquidated
          Brooklyn, NY 11206                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          WK Foods LLC                                                        Contingent
          810 South Broadway                                                  Unliquidated
          Hicksville, NY 11801                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          World Class Bussines Products                                       Contingent
          48-49 35th St                                                       Unliquidated
          Long Island City, NY 11101                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Xiaodong Wang                                                       Contingent
          45-15 Aster Lane                                                    Unliquidated
          Great Neck, NY 11020                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.351     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Xiaojie Wu                                                         Contingent
           246 Bainbridge Street Apt 6                                        Unliquidated
           Brooklyn, NY 11233                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.352     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $6,638.77
           Xue & Associates, P.C.                                             Contingent
           1 School Street, Suite 303 A                                       Unliquidated
           Glen Cove, NY 11542                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    legal services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.353     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Yifan Bai                                                          Contingent
           300 East 93rd Street                                               Unliquidated
           Apt 6A                                                             Disputed
           New York, NY 10128
                                                                             Basis for the claim:    NOTICE ONLY
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.354     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $13,862.45
           York Building Services, Inc.                                       Contingent
           PO Box 312                                                         Unliquidated
           Manasquan, NJ 08736                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Xue & Associates, P.C.
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.355     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Zambup Music Group Inc                                             Contingent
           40 West 116 Street Apt A 607                                       Unliquidated
           New York, NY 10026                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.356     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Zheng Zhang                                                        Contingent
           45-15 Aster Lane                                                   Unliquidated
           Great Neck, NY 11020                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       American Express
           PO Box 299051                                                                              Line     3.19
           Fort Lauderdale, FL 33329-9051
                                                                                                            Not listed. Explain



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              Name

          Name and mailing address                                                               On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                                                 related creditor (if any) listed?         account number, if
                                                                                                                                           any
 4.2      Amos Weinberg, Esq.
          49 Somerset Dr S                                                                       Line   3.164
          Great Neck, NY 11020-1821
                                                                                                       Not listed. Explain

 4.3      Andrew Wilson
          7 Park Ave Apt 5C                                                                      Line   2.6
          New York, NY 10016
                                                                                                       Not listed. Explain

 4.4      ARSI
          555 St. Charles Dr, Suite 100                                                          Line   3.19                               6035
          Thousand Oaks, CA 91360
                                                                                                       Not listed. Explain

 4.5      c/o RHK Recovery Group
          1670 Old Country Road                                                                  Line   3.165
          Plainview, NY 11803
                                                                                                       Not listed. Explain

 4.6      Callahan Capital Properties
          3 Bryant Park                                                                          Line   3.2
          1095 Avenue of the Americas
          New York, NY 10036                                                                           Not listed. Explain


 4.7      Carl E. Zapffe, Esq.
          1551 South Washington Ave, Ste                                                         Line   3.19
          Piscataway, NJ 08854
                                                                                                       Not listed. Explain

 4.8      Caroleyn Ng
          527 West 46th St                                                                       Line   2.11
          New York, NY 10036
                                                                                                       Not listed. Explain

 4.9      David M. Schulman, Esq.
          Greenberg & Schulman                                                                   Line   3.197
          90 Woodbridge Centre Dr. #200
          Woodbridge, NJ 07095-1182                                                                    Not listed. Explain


 4.10     Don L. Hochler, Esq.
          7600 Jericho Turnpike, Ste 300                                                         Line   3.165
          Woodbury, NY 11797
                                                                                                       Not listed. Explain

 4.11     Don L. Hochler, Esq.
          7600 Jericho Turnpike, Ste 300                                                         Line   3.301
          Woodbury, NY 11797
                                                                                                       Not listed. Explain

 4.12     East Coast Asset Recovery
          90D Forest Ave                                                                         Line   3.116                              1232
          Glen Cove, NY 11542
                                                                                                       Not listed. Explain

 4.13     Frank D. Platt, Esq.
          151 North Main St.                                                                     Line   3.335
          New City, NY 10956
                                                                                                       Not listed. Explain

 4.14     Ingold Law, PLLC
          5555 Main St                                                                           Line   3.302
          Williamsville, NY 14221
                                                                                                       Not listed. Explain




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 Debtor       DaDong Catering LLC                                                                Case number (if known)
              Name

          Name and mailing address                                                               On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                                                 related creditor (if any) listed?         account number, if
                                                                                                                                           any
 4.15     Law Offices of L. Blake Morris
          PO Box 3289                                                                            Line   3.292
          New York, NY 10008-3289
                                                                                                       Not listed. Explain

 4.16     Meyers, Saxon & Cole
          3620 Quentin Rd                                                                        Line   3.93                               3443
          Brooklyn, NY 11234
                                                                                                       Not listed. Explain

 4.17     Michael Apfelbaum, Esq.
          129 West 75th St.                                                                      Line   3.36
          Suite #2
          New York, NY 10023                                                                           Not listed. Explain


 4.18     Michael W. McMahon, SVP
          Callahan Capital Properties                                                            Line   3.2
          3 Bryant Park
          New York, NY 10036                                                                           Not listed. Explain


 4.19     Mitchell D. Haddad, Esq.
          Sills Cummis & Gross P.C.                                                              Line   3.2
          101 Park Ave, 28th Fl
          New York, NY 10178                                                                           Not listed. Explain


 4.20     Myers Saxon & Cole
          3620 Quentin Rd                                                                        Line   3.324
          Brooklyn, NY 11234
                                                                                                       Not listed. Explain

 4.21     Nichole D. Cortese, Esq.
          Loeb & Loeb LLP                                                                        Line   3.2
          345 Park Ave
          New York, NY 10154                                                                           Not listed. Explain


 4.22     Pragna Parikh, Esq.
          Smith Carroad                                                                          Line   3.316
          5036 Jericho Tpke
          Commack, NY 11725                                                                            Not listed. Explain


 4.23     Relin, Goldstein & Crane, LLP
          28 East Main St., Suite 1800                                                           Line   3.93
          Rochester, NY 14614
                                                                                                       Not listed. Explain

 4.24     Robert D. Block, Esq.
          250 Park Ave., 7th Floor                                                               Line   3.335
          New York, NY 10177-0799
                                                                                                       Not listed. Explain

 4.25     Steven M. Lutt, Esq.
          White & Case LLP                                                                       Line   3.304
          1221 Avenue of the Americas
          New York, NY 10020-1095                                                                      Not listed. Explain


 4.26     Timothy J. Fierst, Esq.
          22 Bayview Ave, Suite 202                                                              Line   3.306
          Manhasset, NY 11030
                                                                                                       Not listed. Explain

 4.27     Timothy Wan, Esq.
          Smith Carroad                                                                          Line   3.316
          PO Box 49
          Commack, NY 11725                                                                            Not listed. Explain


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              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any
 4.28      William Vazquez
           CBRE Asset Services                                                                   Line      3.2
           3 Bryant Park
           New York, NY 10036                                                                          Not listed. Explain


 4.29      Zwicker & Associates, P.C.
           80 Minuteman Rd                                                                       Line      3.19                                 6216
           Andover, MA 01810-1008
                                                                                                       Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.          $                    632,030.24
 5b. Total claims from Part 2                                                                        5b.    +     $                  3,072,884.01

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.          $                    3,704,914.25




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 Fill in this information to identify the case:

 Debtor name         DaDong Catering LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.         State what the contract or                  Retail Lease Agreement
              lease is for and the nature of              dated January 1, 2016
              the debtor's interest                       Amendment to Retail
                                                          Lease Agreement dated
                                                          March 1, 2016
                                                          Second Amendment of
                                                          Lease
                  State the term remaining                term expiring February       3 BP Property Owner LLC
                                                          28, 2031                     c/o Callahan Capital Propertie
              List the contract number of any                                          3 Bryant Part
                    government contract                                                New York, NY 10036


 2.2.         State what the contract or                  Commercial Insurance
              lease is for and the nature of              Premium Finance and
              the debtor's interest                       Security Agreement for
                                                          Employment Practices
                                                          Liability Insurance
                  State the term remaining
                                                                                       Bank Direct Capital Finance
              List the contract number of any                                          150 North Field Dr., Ste 190
                    government contract                                                Lake Forest, IL 60045


 2.3.         State what the contract or                  Credit Application and
              lease is for and the nature of              Agreement
              the debtor's interest

                  State the term remaining
                                                                                       Coca Cola Refreshments
              List the contract number of any                                          P.O. Box 1734
                    government contract                                                Atlanta, GA 30301


 2.4.         State what the contract or                  Phase II Dishmachine
              lease is for and the nature of              Lease Agreement for
              the debtor's interest                       Dishmachine
                                                          Equipment
                  State the term remaining
                                                                                       Ecolab Inc.
              List the contract number of any                                          24198 Network Pl
                    government contract                                                Chicago, IL 60673-1241

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 2
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 Debtor 1 DaDong Catering LLC                                                                      Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease



 2.5.        State what the contract or                   Phase II Dishmachine
             lease is for and the nature of               Rental Agreement for
             the debtor's interest                        Booster Heater

                  State the term remaining
                                                                                           Ecolab Inc.
             List the contract number of any                                               24198 Network Pl
                   government contract                                                     Chicago, IL 60673-1241


 2.6.        State what the contract or                   Equipment Loan
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11/1/17

                  State the term remaining                                                 Illy Caffe North America, Inc.
                                                                                           800 Westchester Ave
             List the contract number of any                                               Suite S-440
                   government contract                                                       NY 10723


 2.7.        State what the contract or                   Rental Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                           Mayim Water
             List the contract number of any                                               111 John Street, Suite 1610
                   government contract                                                     New York, NY 10038


 2.8.        State what the contract or                   Beverage Gas
             lease is for and the nature of               Equipment and Service
             the debtor's interest                        Agreement dated
                                                          8/18/17
                  State the term remaining                4 years
                                                                                           Tri State Carbonation Service
             List the contract number of any                                               P.O.Box 333
                   government contract                                                     Thompsonville, NY 12784


 2.9.        State what the contract or                   equipment lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                           Waterlogic USA INC.
             List the contract number of any                                               P.O. Box 677867
                   government contract                                                     Dallas, TX 75267




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                          Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         DaDong Catering LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.2                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.3                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.4                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code




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 Fill in this information to identify the case:

 Debtor name         DaDong Catering LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                              $4,553,859.56
       From 1/01/2019 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                              $8,608,671.88
       From 1/01/2018 to 12/31/2018
                                                                                                Other


       For year before that:                                                                    Operating a business                                $961,046.70
       From 1/01/2017 to 12/31/2017
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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 Debtor       DaDong Catering LLC                                                                       Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Action Environmental Services                               08/14/2019 to                    $11,268.57          Secured debt
               P O Box 554744                                              11/12/2019                                           Unsecured loan repayments
               Detroit, MI 48255-4744                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.2.
               Asian Bok Choy, Inc.                                        08/14/2019 to                    $33,529.12          Secured debt
               969 Grand St                                                11/12/2019                                           Unsecured loan repayments
               Brooklyn, NY 11211                                                                                               Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.3.
               Dairyland USA Corporation                                   08/14/2019 to                    $15,760.64          Secured debt
               P.O.Box 30943                                               11/12/2019                                           Unsecured loan repayments
               New York, NY 10087-0943                                                                                          Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.4.
               Gotham Seafood Corporation                                  08/14/2019 to                    $28,287.09          Secured debt
               542 West 29th Street                                        11/12/2019                                           Unsecured loan repayments
               New York, NY 10001                                                                                               Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.5.
               IPFS Corporation                                            08/14/2019 to                      $8,358.62         Secured debt
               P.O. Box 700                                                11/12/2019                                           Unsecured loan repayments
               Buffalo, NY 14226-0700                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Otherinsurance (Umbrella
                                                                                                                               Package)

       3.6.
               North East Linen Supply                                     08/14/2019 to                    $14,079.06          Secured debt
               P.O.Box 984003                                              11/12/2019                                           Unsecured loan repayments
               Boston, MA 02298-4003                                                                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.7.
               Tai He Trading Corp.                                        08/14/2019 to                    $32,899.54          Secured debt
               32-33 Hunters Point Ave                                     11/12/2019                                           Unsecured loan repayments
               Long Island City, NY 11101                                                                                       Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.8.
               Uline, Inc.                                                 08/14/2019 to                      $7,146.48         Secured debt
               Attn: Accounts Receivable                                   11/12/2019                                           Unsecured loan repayments
               PO Box 88741                                                                                                     Suppliers or vendors
               Chicago, IL 60680-1741
                                                                                                                                Services
                                                                                                                                Other


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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.9.
               United Healthcare Oxford                                    08/14/2019 to                    $19,659.36            Secured debt
               P.O. Box 1697                                               11/12/2019                                             Unsecured loan repayments
               Newark, NJ 07101-1697                                                                                              Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other   medical

       3.10
       .    Vista Food Exchange, Inc.                                      08/14/2019 to                      $9,991.00           Secured debt
               101 Food Center Arcadem                                     11/12/2019                                             Unsecured loan repayments
               Hunts Point Co-Op Market                                                                                           Suppliers or vendors
               Bronx, NY 10474
                                                                                                                                  Services
                                                                                                                                  Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Celso Moreira                                               11/12/18 -                      $203,266.84           salary
               527 West 46th St                                            11/12/19
               Apt.16
               New York, NY 10036
               Director of Operations

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address



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               Case title                                        Nature of case            Court or agency's name and            Status of case
               Case number                                                                 address
       7.1.    3 BP Property Owner LLC v.                        eviction                  Civil Court of the City of               Pending
               Dadong Catering LLC                                                         New York                               On appeal
               LT-061717-19/NY                                                             20 Avenue T, 2nd Floor
                                                                                                                                  Concluded
                                                                                           Brooklyn, NY 11223

       7.2.    Barnelap Industries d/b/a                         Collection                Civil Court of the City of               Pending
               Obena Supply Co. v. DaDong                                                  New York                               On appeal
               NY                                                                          Small Claims Part 45
                                                                                                                                  Concluded
               35087 SCNY 2019 1                                                           111 Centre St.
                                                                                           New York, NY 10013-4310

       7.3.    True World Foods LLC v.                           Contract                  Supreme Court of the State               Pending
               DaDong Catering LLC                                                         of New York                            On appeal
               158192/2019(E)                                                              60 Centre Street
                                                                                                                                  Concluded
                                                                                           New York, NY 10007

       7.4.    JAM Consultants Inc. v.                           Collection                Civil Court of the City of               Pending
               DaDong Catering LLC                                                         New York                               On appeal
               CV-024260-19/NY                                                             111 Centre Street
                                                                                                                                  Concluded
                                                                                           New York, NY 10013

       7.5.    M Tucker, a division of Singer                    Collection                Civil Court of the City of               Pending
               NY, LLC v. DaDong Catering                                                  New York                               On appeal
               LLC                                                                         111 Centre Street
                                                                                                                                  Concluded
               27166/19                                                                    New York, NY 10013

       7.6.    Vista Food Exchange Inc. v.                       Collection                Supreme Court of the State               Pending
               DaDong Catering LLC,                                                        of New York                            On appeal
               individually and d/b/a DaDong                                               60 Centre Street
                                                                                                                                  Concluded
               New York                                                                    New York, NY 10007
               30712/2019E

       7.7.    American Express Travel                           Contract                  Supreme Court of the State               Pending
               Related Services Company,                                                   of New York                            On appeal
               Inc. v. DaDong Catering LLC                                                 60 Centre Street
                                                                                                                                  Concluded
               654675/2019                                                                 New York, NY 10007

       7.8.    The Lobster Place Inc. v.                         Collection                Civil Court of the City of               Pending
               DaDong Catering LLC                                                         New York                               On appeal
               CV-021254-19                                                                89-17 Sutphin Blvd
                                                                                                                                  Concluded
                                                                                           Jamaica, NY 11435

       7.9.    JDB Market Corp. d/b/a                            Collection                Civil Court of the City of               Pending
               John's Market v. DaDong                                                     New York                               On appeal
               Catering LLC                                                                111 Centre Street
                                                                                                                                  Concluded
               CV-025104-19/NY                                                             New York, NY 10013

       7.10 Baring Industries, Inc. v. 3 BP                      real property             U.S. District Court, SDNY                Pending
       .    Property Owner LLC, et al.                           foreclosure               40 Foley Courthouse                    On appeal
               1:19-cv-02829-JGK                                                           New York, NY 10007
                                                                                                                                  Concluded

       7.11 F. Rozzo & Sons Inc. v.                              Collection                Supreme Court of the State               Pending
       .    DaDong Catering LLC                                                            of New York                            On appeal
               32184/2019E                                                                 60 Centre Street
                                                                                                                                  Concluded
                                                                                           New York, NY 10007




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 Debtor      DaDong Catering LLC                                                                            Case number (if known)



               Case title                                        Nature of case               Court or agency's name and             Status of case
               Case number                                                                    address
       7.12 Transel Elevator and Electric,                       Foreclosure of               Supreme Court of the State                 Pending
       .    Inc. d/b/a TEI Group v.                              Mechanic's Lien              of New York                             On appeal
               DaDong Catering, LLC and 3                                                     60 Centre Street
                                                                                                                                      Concluded
               BP Property Owner LLC                                                          New York, NY 10007
               153002/2019

       7.13 Stephen R. Stegich v. DaDong                         Civil                        Civil Court of the City of              Pending
       .    New York                                                                          New York                                On appeal
               151593/2019                                                                    111 Centre Street                          Concluded
                                                                                              New York, NY 10013


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.




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                Who was paid or who received                         If not money, describe any property transferred           Dates             Total amount or
                the transfer?                                                                                                                             value
                Address
       11.1.    Akerman LLP
                401 East Jackson St
                Suite 1700                                                                                                     November
                Tampa, FL 33602                                                                                                7, 2019               $30,000.00

                Email or website address


                Who made the payment, if not debtor?
                KOP KG One LLC


       11.2.    Akerman LLP
                401 East Jackson St
                Suite 1700                                                                                                     November
                Tampa, FL 33602                                                                                                13, 2019              $20,000.00

                Email or website address


                Who made the payment, if not debtor?
                KOP KG One LLC



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers            Total amount or
                                                                                                                      were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                            Description of property transferred or                  Date transfer           Total amount or
               Address                                           payments received or debts paid in exchange             was made                         value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To
       14.1.    1500 Broadway                                                                                              3/10/2016-1/31/2018
                Suite 3300
                New York, NY 10036

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
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    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

       No.
           Yes. State the nature of the information collected and retained.

                  guest profiles and email addresses (maintained by Open Table)
                  Does the debtor have a privacy policy about that information?
                   No
                   Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was              Last balance
                Address                                          account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?



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       Facility name and address                                     Names of anyone with                 Description of the contents        Do you still
                                                                     access to it                                                            have it?
       All Season Hospitality                                        Debtor's management                  Equipment inventory                 No
       12 Breiderhoft Rd                                             team.                                including plates and kitchen        Yes
       Kearny, NJ 07032                                                                                   items stored at All Seasons
                                                                                                          warehouse in Secaucus, New
                                                                                                          Jersey.



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                 Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known    Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known    Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None

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    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Prager Metis                                                                                                               2017 to present
                    14 Penn Plaza
                    Suite 1800
                    New York, NY 10122
       26a.2.       Claudia Delgado                                                                                                            mid-January 2018 to
                    3230 44th Street Apt 3F                                                                                                    present
                    Astoria, NY 11103

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Claudia Delgado
                    3230 44th Street Apt 3F
                    Astoria, NY 11103
       26c.2.       Prager Metis
                    14 Penn Plaza
                    Suite 1800
                    New York, NY 10122

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address
       26d.1.  R.J. Oscar Chen, Esq.
                    Duan & Duan
                    47/F,Maxdo Center 8 Xingyi Rd
                    CHINA
       26d.2.       The True Taste One Bryant Park, LLC
                    c/o Kuafu Properties LLC
                    1500 Broadway, 22nd FL
                    New York, NY 10003-6000
       26d.3.       Tiger & Fox 9, LLC
                    c/o Waldman Hirsch & Co LLP
                    One Penn Plaza, Suite 2620
                    New York, NY 10119




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       Name and address
       26d.4.  Chat Bright Limited
                    88 Tai Tam Reservoir Rd
                    Hong Kong
                    CHINA
       26d.5.       Beijing Dadong Roast Duck Restaurant Co.
                    Building No. 3, TuanjiehuBeikou
                    Chaoyang District, Bejing
                    100026
                    CHINA
       26d.6.       Tiger & Fox 3, LLC
                    c/o Waldman Hirsch & Co. LLP
                    One Penn Plaza, Suite 2620
                    New York, NY 10119
       26d.7.       Zootopie LLC
                    c/o Waldman Hirsch & Co. LLP
                    One Penn Plaza, Suite 2620
                    New York, NY 10119
       26d.8.       Genesis Brand Management LLC
                    375 Park Ave., 27th Floor
                    New York, NY 10152

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

                Name and address of recipient                    Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1 Celso Moreira
       .    527 West 46th St
                Apt.16                                                                                                   11/12/18 -
                New York, NY 10036                               $203,266.84                                             11/12/19           salary

                Relationship to debtor
                Director of Operations

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31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         11/13/2019

                                                                        Xiaozhe Liu
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CEO and Managing Member of Genesis
                                            Brand Management

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re       DaDong Catering LLC                                                                              Case No.
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                 $                 50,000.00
              Prior to the filing of this statement I have received                                       $                 50,000.00
              Balance Due                                                                                 $                       0.00

2.     The source of the compensation paid to me was:

               Debtor                   Other (specify):           KOP KG One LLC

3.     The source of compensation to be paid to me is:
               Debtor                   Other (specify):           KOP KG One LLC

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  (a) advise the Debtor with respect to its powers and duties as debtor and debtor-in-possession;
                  (b) attend meetings and negotiate with representatives of creditors and other parties-in-interest and advise and
                  consult on the conduct of the case, including all of the legal and administrative requirements of operating in
                  Chapter 11;
                  (c) advise the Debtor in connection with any contemplated sales of assets or business combinations;
                  (d) advise the Debtor in connection with post-petition financing and cash collateral arrangements, provide advice
                  and counsel with respect to pre-petition financing arrangements;
                  (e) advise the Debtor on matters relating to the evaluation of the assumption, rejection or assignment of
                  unexpired leases and executory contracts;
                  (f) provide advice to the Debtor with respect to legal issues arising in or relating to the Debtor's ordinary course
                  of business including attendance at senior management meetings, meetings with the Debtor's financial and
                  turnaround advisors, and provide advice on employee, workers' compensation, employee benefits, labor, tax,
                  insurance, securities, corporate, business operation, contracts, joint ventures, real property, press/public affairs
                  and regulatory matters;
                  (g) take all necessary action to protect and preserve the Debtor's estate, including the prosecution of actions on
                  its behalf, the defense of any actions commenced against the estate, negotiations concerning all litigation in
                  which the Debtor may be involved and objections to claims filed against the estate;
                  (h) prepare on behalf of the Debtor all motions, applications, answers, orders, reports and papers necessary to
                  the administration of the estate;
                  (i) negotiate and prepare on the Debtor's behalf a plan of reorganization, disclosure statement and all related
                  agreements and/or documents, and take any necessary action on behalf of the Debtor to obtain confirmation of
                  such plan;
                  (j) attend meetings with third parties and participate in negotiations with respect to the above matters;
                  (k) appear before this Court, any appellate courts, and the U.S. Trustee; and
                  (l) perform all other necessary legal services and provide all other necessary legal advice to the Debtor in
                  connection with this Chapter 11 case.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtor in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.


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                                                                     Southern District of New York
 In re      DaDong Catering LLC                                                                            Case No.
                                                                                  Debtor(s)                Chapter       11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities              Kind of Interest
 business of holder
 (Beijing Dadong Roast Duck Re)                                                                                       57.34% of Dadong
 Building No. 3, TuanjiehuBeiko                                                                                       Management LLC
 Chaoyang Dsitrict, Beijing
 CHINA

 (Chat Bright Limited)                                                                                                10.52% of Dadong
 88 Tai Tam Reservoir Road                                                                                            Management LLC
 Hong Kong
 CHINA

 (Genesis Brand Management LLC)                                                                                       12.34% of Dadong
 375 Park Ave                                                                                                         Management LLC
 27th Floor
 New York, NY 10152

 (The True Taste One Bryant Pa)                                                                                       4.92% of Dadong
 c/o Kuafu Properties LLC                                                                                             Management LLC
 1500 Broadway, 22nd Floor
 New York, NY 10036

 (Tiger & Fox 3, LLC)                                                                                                 5.88% of Dadong
 c/o Waldman Hirsch & Co. LLP                                                                                         Management LLC
 One Penn Plaza, Suite 2620
 New York, NY 10119

 (Tiger & Fox 9, LLC)                                                                                                 4.50% of Dadong
 c/o Waldman Hirsch & Co LLP                                                                                          Management LLC
 One Penn Plaza, Suite 2620
 New York, NY 10119

 (Zootopie LLC)                                                                                                       4.50% of Dadong
 c/o Waldman Hirsch & Co. LLP                                                                                         Management LLC
 One Penn Plaza, Suite 2620
 New York, NY 10119

 DaDong Management LLC                                                                                                100%
 1500 Broadway, Suite 3301
 New York, NY 10036




Sheet 1 of 2 in List of Equity Security Holders
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                                                                                     Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder
DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the CEO and Managing Member of Genesis Brand Management of the corporation named as the debtor in this
case, declare under penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and
correct to the best of my information and belief.



 Date 11/13/2019                                                             Signature
                                                                                            Xiaozhe Liu

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




List of equity security holders consists of 2 total page(s)
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      DaDong Catering LLC                                                                         Case No.
                                                                                   Debtor(s)            Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the CEO and Managing Member of Genesis Brand Management of the corporation named as the debtor in this case, hereby verify

that the attached list of creditors is true and correct to the best of my knowledge.




 Date:       11/13/2019
                                                                        Xiaozhe Liu/CEO and Managing Member of Genesis Brand
                                                                        Management
                                                                        Signer/Title




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}




                          1460 BROADWAY TENANT LLC
                          1460 BROADWAY
                          NEW YORK, NY 10036


                          3 BP PROPERTY OWNER LLC
                          PO BOX 781998
                          PHILADELPHIA, PA 19178-1998


                          3 BP PROPERTY OWNER LLC
                          C/O CALLAHAN CAPITAL PROPERTIE
                          3 BRYANT PART
                          NEW YORK, NY 10036


                          A1 DEPENDABLE CONSTRUCTION INC
                          132 FIELDMERE ST.
                          ELMONT, NY 11003


                          ABOUDALA ABERESSI
                          2300 GRAND CONCOURSE APT 3G
                          BRONX, NY 10458


                          ABRAHAM POLLACK
                          253 POWERS STREET #1RR
                          BROOKLYN, NY 11211


                          ACE ENDICO CORP.
                          80 INTERNATIONAL BLVD.
                          BREWSTER, NY 10509


                          ACKER MERRALL & CONDIT COMPANY
                          160 WEST 72 ST.
                          NEW YORK, NY 10023


                          ACTION ENVIRONMENTAL SERVICES
                          P O BOX 554744
                          DETROIT, MI 48255-4744


                          ADVANCED PRINTING OF NEW YORK,
                          320 WEST 37TH ST.
                          NEW YORK, NY 10018


                          AFCO
                          5600 N. RIVER ROAD, SUITE 400
                          ROSEMONT, IL 60018-5187
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                      AIR CLEAN GROUP INC
                      154-05 12TH AVENUE
                      WHITESTONE, NY 11357


                      ALEXANDRA ROVATI
                      342 E 76ST
                      NEW YORK, NY 10021


                      ALEXANDRA SHCHERBAKOV
                      1844 81 ST 3RD FL
                      BROOKLYN, NY 11214


                      ALL GLASS PROFESSIONALS
                      654 WHISKEY RD
                      RIDGE, NY 11961


                      ALL SEASON HOSPITALITY
                      12 BREIDERHOFT RD
                      KEARNY, NJ 07032


                      ALL SEASON MOVERS, INC.
                      12 BREIDERHOFT RD
                      KEARNY, NJ 07032


                      ALL SERVICE KITCHEN EQUIPMENT
                      10 CHARLES ST.
                      P,O. BOX 310
                      NEW HYDE PARK, NY 11040


                      ALMA GOURMET
                      39-12 CRESENT ST
                      LONG ISLAND CITY, NY 11101


                      ALPI USA INC.
                      70 EAST SUNRISE HIGHTWAY
                      SUITE 607
                      NEW YORK, NY 11581


                      ALPINE CONSTRUCTION & LANDSCAP
                      404 FIFTH AVE
                      NEW YORK, NY 10018


                      ALVARO SANCHEZ
                      1524 47TH ST
                      NORTH BERGEN, NJ 07047
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                      AMASS INTERNATIONAL GROUP (NEW
                      JFK CARGO BUILDING 75, STE 200
                      N. HANGAR RD
                      JAMAICA, NY 11430


                      AMERICAN EXPRESS
                      P.O. BOX 1270
                      NEWARK, NJ 07101-1270


                      AMERICAN EXPRESS
                      PO BOX 299051
                      FORT LAUDERDALE, FL 33329-9051


                      AMOS WEINBERG, ESQ.
                      49 SOMERSET DR S
                      GREAT NECK, NY 11020-1821


                      ANDREA M. SANDOVAL
                      2303 DITMARS BLVD ASTORIA
                      ASTORIA, NY 11105


                      ANDREW WILSON
                      114 TROCTMAN ST. 306
                      BROOKLYN, NY 11206


                      ANDREW WILSON
                      7 PARK AVE APT 5C
                      NEW YORK, NY 10016


                      ANDY XU
                      252-37 60TH AVE.
                      LITTLE NECK, NY 11362


                      ANGELS' SHARE WINE IMPORTS, LL
                      106 FERRIS STREET #1L
                      BROOKLYN, NY 11231


                      ANHEUSER-BUSCH SALES & SERVICE
                      550 FOOD CENTER DR
                      BRONX, NY 10474


                      ANNIE LU
                      51 E 117TH ST, APT 1
                      NEW YORK, NY 10035
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                      ARAMARK REFRESHMENT SERVICES
                      1511 TONNELLE AVE
                      NORTH BERGEN, NJ 07047


                      ARC EXCESS AND SURPLUS LLC
                      113 SOUTH SERVICE RD
                      P.O.BOX 9012
                      JERICHO, NY 11753


                      ARISTA AIR CONDITIONING CORP
                      38-26 10TH STREET
                      LONG ISLAND CITY, NY 11101


                      ARSI
                      555 ST. CHARLES DR, SUITE 100
                      THOUSAND OAKS, CA 91360


                      ASCIEL HERNANDEZ
                      2471 DAVIDSON AVE
                      BRONX, NY 10468


                      ASIAN BOK CHOY, INC.
                      969 GRAND ST
                      BROOKLYN, NY 11211


                      ASKBOR PTY LTD (AUSTRALIA)
                      LEVEL 2/ 60 FOSTER ST.
                      SURRY HILLS, NSW 2010
                      AUSTRALIA


                      AVERO LLC
                      235 PARK AVE SOUTH
                      7TH FLOOR
                      NEW YORK, NY 10003


                      AXIOM DESIGN & BUILD
                      23 HEISSER CT
                      FARMINGDALE, NY 11735


                      BACCHUS IMPORTS, INC.
                      DBA SOILAIR SELECT
                      150 W 30TH ST, SUITE 706
                      NEW YORK, NY 10001
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                      BADR NAIMALLAH
                      19-51 80TH ST. 1C
                      EAST ELMHURST, NY 11370


                      BAK INTERNATIONA TRADE INC.
                      2301 BORDEN AVE
                      LONG ISLAND CITY, NY 11101


                      BALDOR SPECIALTY FOODS, INC.
                      P.O. BOX 5411
                      NEW YORK, NY 10087-5411


                      BALTER SALES COMPANY, INC.
                      209 BOWERY
                      NEW YORK, NY 10002


                      BANK DIRECT CAPITAL FINANCE
                      150 NORTH FIELD DR., STE 190
                      LAKE FOREST, IL 60045


                      BANKDIRECT CAPITAL FINANCE
                      P.O.BOX 660448
                      DALLAS, TX 75266-0448


                      BANVILLE & JONES WINE MERCHANT
                      126 EAST 38TH ST, 3RD FLOOR
                      NEW YORK, NY 10016


                      BARING INDUSTRIES, INC.
                      3249 SW 42ND STREET FT.
                      FORT LAUDERDALE, FL 33312


                      BARNELAP INDUSTRY/OBENA SUPPLY
                      31-18 38TH AVE
                      LONG ISLAND CITY, NY 11101


                      BEIJING AIJIANTONGYI TRADING D
                      RM 1026 COMMERCIAL BLDG.
                      NO. 33 DENGSHIKOU ST., BEIJING
                      CHINA


                      BELLE FLEUR HOME, LLC
                      134 FIFTH AVE
                      4TH FLOOR
                      NEW YORK, NY 10011
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                      BENEFITMALL
                      P.O.BOX 638246
                      CINCINNATI, OH 45263-8246


                      BENJAMAPORN BOONROUNG
                      105 VAN CORTLANDT AVE W 1FL
                      BRONX, NY 10463


                      BIN BIN XU
                      80 DEKALB AVE APT 16K
                      BROOKLYN, NY 11201


                      BLUE ISLAND OYSTERS CO. INC.
                      P.O.BOX 31
                      WEST SAYVILLE, NY 11796


                      BLUE MOON ACRES INC.
                      PO BOX 201
                      BUCKINGHAM, PA 18912


                      BNP DISTIBUTING CO INC.
                      340 EAST 93RD STREET #12J
                      NEW YORK, NY 10128


                      BREWER CANTELMO LLC
                      109 WEST 27TH ST
                      NEW YORK, NY 10001


                      BRIAN J. MCANNENY CONSULTING,
                      408 EAST 92ND
                      APT. 15E
                      NEW YORK, NY 10128


                      BROADWAY PARTY RENTALS
                      134 MORGAN AVE
                      BROOKLYN, NY 11237


                      BROOKLYN FOOD AND BEVERAGE
                      465 JOHNSON AVE
                      BROOKLYN, NY 11237


                      BROWNE TRADING
                      MERRIL'S WHARF
                      260 COMMERCIAL ST.
                       04110-1000
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                      BULLETPROOF FOODSERVICE LLC
                      42 WEST STREET #337
                      BROOKLYN, NY 11222


                      BUONITALIA
                      MISONO FOOD LTD
                      109 PORT JERSEY BLVD
                      JERSEY CITY, NJ 07305


                      C&M FIRST SERVICES
                      1560 BROADWAY
                      SUITE 800
                      NEW YORK, NY 10036


                      C/O RHK RECOVERY GROUP
                      1670 OLD COUNTRY ROAD
                      PLAINVIEW, NY 11803


                      CALLAHAN CAPITAL PROPERTIES
                      3 BRYANT PARK
                      1095 AVENUE OF THE AMERICAS
                      NEW YORK, NY 10036


                      CAMBRIDGE PACKING CO, INC.
                      41-43 FOODMART ROAD
                      BOSTON, MA 02118


                      CARL E. ZAPFFE, ESQ.
                      1551 SOUTH WASHINGTON AVE, STE
                      PISCATAWAY, NJ 08854


                      CARLOS LOAZYZA
                      15 CLARK RD
                      GREAT NECK, NY 11021


                      CAROLEYN NG
                      147 ELIZABETH ST
                      NEW YORK, NY 10036


                      CAROLEYN NG
                      527 WEST 46TH ST
                      NEW YORK, NY 10036
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                      CATALPA SPECIAL INSPECTIONS
                      1270 BROADWAY
                      SUITE 808
                      NEW YORK, NY 10001


                      CATHERINE MCDANIEL
                      55 WEST END AVENUE S11H
                      NEW YORK, NY 10023


                      CEC ELEVATOR CAB CORP.
                      540 MANIDA ST
                      BRONX, NY 10474


                      CELSO MOREIRA
                      527 WEST 46TH ST
                      APT.16
                      NEW YORK, NY 10036


                      CERTIFIED G. I., INC.
                      623 WEST 51ST ST
                      NEW YORK, NY 10019


                      CERTIFIED OF N.Y., INC.
                      623 WEST 51ST ST
                      NEW YORK, NY 10019


                      CHAIN'S CONCEPT MANAGEMENT COM
                      ROOM 3011, 30/F, TOWER A, SOUT
                      11 YIP HING ST, WONG CHUK HANG
                      HONG KONG


                      CHASE CARD SERVICES
                      PO BOX 1423
                      CHARLOTTE, NC 28201-1423


                      CHEF'S GARDEN INC.
                      C/O C2C RESOURCES LLC
                      56 PERIMETER CENTER EAST, STE
                      ATLANTA, GA 30346


                      CIT GROUP INC.
                      21146 NETWORK PLACE
                      CHICAGO, IL 60673-1211
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                      CITYWIDE ELEVATOR CONSULTING
                      US HIGHWAY 22, SUITE 100A
                      BRIDGEWATER, NJ 08807


                      CJI, LLC
                      47 E. 88TH ST.
                      NEW YORK, NY 10128


                      CLARA VERAS RODRIGUEZ
                      3053 HEATH AVE
                      BRONX, NY 10463


                      CLASSIC WINES INC.
                      52 POPLAR STREET
                      STAMFORD, CT 06907


                      CLAUDIA DELGADO
                      3230 44TH STREET APT 3F
                      ASTORIA, NY 11103


                      CNS ENTERPRISES, INC.
                      36-02 13TH ST
                      LONG ISLAND CITY, NY 11101


                      COCA COLA REFRESHMENTS
                      P.O. BOX 1734
                      ATLANTA, GA 30301


                      COGNAC ONE LLC
                      135 EAST 57TH ST
                      FLOOR 10 -UNIT 86
                      NEW YORK, NY 10022-2158


                      COMPEAT, INC.
                      12303 TECHNOLOGY BLVD
                      SUITE 930 D
                      AUSTIN, TX 78727


                      CON EDISON COMPANY OF N.Y. INC
                      JAF STATION
                      P.O.BOX 1702
                      NEW YORK, NY 10116-1702
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                      CONNOR EVANS
                      605 WEST 156
                      NEW YORK, NY 10032


                      COOPER ELECTRIC SUPPLY CO.
                      42 CINDY LANE
                      ASBURY PARK, NJ 07712


                      CORPORATE COURIER NEW YORK INC
                      115 W 30 ST
                      STE 1105
                      NEW YORK, NY 10001


                      CORT BUSINESS SERVICES CORPORA
                      3455 W. SUNSET RD
                      SUITE A ATT: CYREA MOROE
                      LAS VEGAS, NV 89118


                      CRASSE DE FER LLC/WILLIAMS COR
                      1112 E MARKET ST B22
                      CHARLOTTESVILLE, VA 22902


                      CROWN CASTLE FIBER LLC
                      PO BOX 27135
                      NEW YORK, NY 10087-7135


                      CUTTING EDGE ELITE INC.
                      96 BERRY ST, SUITE 2
                      BROOKLYN, NY 11249


                      D'ARTAGNAN, LLC
                      600 GREEN LANE
                      UNION, NJ 07083


                      DADONG INVESTORS I LLC
                      1500 BROADWAY
                      SUITE #3301
                      NEW YORK, NY 10036


                      DADONG MANAGEMENT LLC
                      1500 BROADWAY
                      SUITE #3301
                      NEW YORK, NY 10036
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                      DAI & ASSOCIATES, P.C.
                      1500 BROADWAY
                      22ND FLOOR
                      NEW YORK, NY 10036


                      DAIRYLAND USA CORPORATION
                      P.O.BOX 30943
                      NEW YORK, NY 10087-0943


                      DAN BURZ
                      2601 PALISADE AVENUE 2FL
                      UNION CITY, NJ 07087


                      DANA G. GOLD
                      1253 MARA COURT
                      ATLANTIC BEACH, NY 11509


                      DANIEL D. STEVENS, INC.
                      7618 17TH AVE.
                      BROOKLYN, NY 11214-1106


                      DANIEL R. VALEZ JR.
                      1903 E MAIN ST
                      MOHEGAN LAKE, NY 10547


                      DANNY HERNANDEZ
                      20-35 SEAGIRT BOULEVARD APT 5E
                      FAR ROCKAWAY, NY 11691


                      DARREN HARTNETT
                      2266 ANDREWS AVE
                      BRONX, NY 10468


                      DAVID BOWLER LLC
                      119 WEST 23RD ST, SUITE 507
                      NEW YORK, NY 10011


                      DAVID M. SCHULMAN, ESQ.
                      GREENBERG & SCHULMAN
                      90 WOODBRIDGE CENTRE DR. #200
                      WOODBRIDGE, NJ 07095-1182


                      DAWA SHERPA
                      3770 64TH STREET #APT 3R
                      WOODSIDE, NY 11377
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                      DAY & NITE REFRIGERATION SERVI
                      10 CHARLES ST
                      P.O. BOX 310
                      NEW HYDE PARK, NY 11040


                      DE YUN FANG
                      13627 CHERRY AVENUE
                      FLUSHING, NY 11355-4829


                      DEBRAGGA & SPITLER INC.
                      65-77 AMITY ST
                      JERSEY CITY, NJ 07304


                      DELANCEY LAUNDROMAT INC.
                      9-11 DELANCEY ST
                      NEW YORK, NY 10002


                      DENIS VLASOV
                      337 EAST 49TH ST, #22
                      NEW YORK, NY 10017


                      DEPT. OF FINANCE COMMISSIONER
                      P.O. BOX 2307
                      PECK SLIP STATION
                      NEW YORK, NY 10272


                      DIAMOND HONG INC
                      211 41ST ST
                      BROOKLYN, NY 11232


                      DOM DORIA & SON WHOLESALE PROD
                      53 ORANGE DR
                      JERICHO, NY 11753


                      DOMAINE SELECT WINE & SPIRITS
                      105 MADISON AVE, 13TH FLOOR
                      NEW YORK, NY 10016


                      DON L. HOCHLER, ESQ.
                      7600 JERICHO TURNPIKE, STE 300
                      WOODBURY, NY 11797


                      DONE RIGHT HOOD & FIRE SAFETY
                      P.O BOX 100772
                      BROOKLYN, NY 11210
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                      DONG SUN RIVER LLC
                      132-35 41 ROAD, #12A
                      FLUSHING, NY 11355


                      DORIS LEKA
                      65-13 FRESH POND RD
                      3RD FLOOR
                      RIDGEWOOD, NY 11385


                      DRAGON (HK) MARINE PRODUCT LIM
                      RM 505-06, HING WAI CENTRE, #7
                      TIN WAN PRAYA ROAD
                      HONG KONG


                      DUCLOT LA VINICOLE LLC
                      P. O.BOX 101
                      MANHASSET, NY 11030


                      DYAMI ARCHITECTURE PC
                      80 RED SCHOOLHOUSE RD
                      SUITE 105
                      CHESTNUT RIDGE, NY 10977


                      E REALTY CORP
                      39-07 PRINCE ST #6E
                      FLUSHING, NY 11354


                      E.B. COHEN & ASSOC. A.A.LLC
                      101 EISENHOWER PARKWAY
                      ROSELAND, NJ 07068


                      E.I. STUDIO INC.
                      43-01 21ST ST
                      STE. 220 B
                      LONG ISLAND CITY, NY 11101


                      EAST COAST ASSET RECOVERY
                      90D FOREST AVE
                      GLEN COVE, NY 11542


                      EAST WEST BANK
                      135 N. LOS ROBLES
                      SUITE 200
                      PASADENA, CA 91101
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                      ECOLAB FOOD SAFETY
                      24198 NETWORK PL
                      CHICAGO, IL 60673-1241


                      ECOLAB INC.
                      P.O. BOX 32027
                      NEW YORK, NY 10087


                      ECOLAB INC.
                      24198 NETWORK PL
                      CHICAGO, IL 60673-1241


                      ECOLAB INSTITUTIONAL
                      24198 NETWORK PLACE
                      CHICAGO, IL 60673-1241


                      ECONOMIC & POLICY RESOURCES, I
                      P.O. BOX 1660
                      WILLISTON, VT 05495-1660


                      EDGAR TORRES
                      34-42 89TH ST APT 1
                      JACKSON HEIGHTS, NY 11372


                      ELEMENT SEAFOOD
                      WET SEAFOOD CORP. DBA ELEMENT
                      50 FRANKLIN AVENUE
                      BROOKLYN, NY 11205


                      ELIAS RODRIGUEZ
                      374 WEST 127TH ST #3F
                      NEW YORK, NY 10024


                      ELLIAS B. COHEN & ASSOCIATES
                      101 ELSENHOWER PARKWAY
                      ROSELAND, NJ 07068


                      EMPIRE MERCHANTS, LLC
                      16 BRIDGEWATER ST
                      BROOKLYN, NY 11222


                      EMPIRE SIGN DISPLAY, INC.
                      314B W 36TH ST
                      NEW YORK, NY 10018
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                      ENVIRONMENTAL TEMPERATURE SYST
                      111 ROOSVELT AVE
                      SUITE C
                      MINEOLA, NY 11501


                      ERIK WANGKANUSA
                      8104 45TH AVE
                      ELMHURST, NY 11373


                      ESTELLE WONG
                      75 WEST END AVENUE APT R9D
                      NEW YORK, NY 10023


                      EURO CERAMICA INC.
                      103 WILLIAM ST, SUITE 11
                      BOONTON, NJ 07005


                      EURO MAINTENANCE INC.
                      64-34 PALMETTO STREET
                      RIDGEWOOD, NY 11385


                      F. ROZZO & SONS
                      159 NINTH AVE
                      NEW YORK, NY 10011


                      FEDERMAN STEIFMAN LLP
                      220 EAST 42ND STREET, 29TH FL
                      NEW YORK, NY 10017


                      FEDEX
                      P.O.BOX 223125
                      PITTSBURGH, PA 15251-2125


                      FEDEX
                      P.O.BOX 371461
                      PITTSBURGH, PA 15250-7461


                      FINANCE COMMISSIONER, NYC
                      P.O. BOX 2307
                      PECK SLIP STATION
                      NEW YORK, NY 10272


                      FIRE MASTERS
                      506 10TH AVE
                      EAST NORTHPORT, NY 11731
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                      FISH CO
                      PO BOX 1529
                      LONG ISLAND CITY, NY 11101


                      FISHER HARRIS SHAPIRO INC.
                      880 THIRD AVE
                      NEW YORK, NY 10022


                      FLEUR SEULE LLC
                      311 WEST 47TH ST
                      APT. 1B
                      NEW YORK, NY 10036


                      FLORALIA EVENTS INC.
                      150 WEST 55TH ST
                      NEW YORK, NY 10019


                      FORTHAVE SPIRITS
                      630 FLUSHING AVE. BOX #19
                      BROOKLYN, NY 11206


                      FOX ROTHSCHILD LLP
                      ATTN: ACCOUNTS RECEIVABLE - 60
                      2000 MARKET STREET, 20TH FLOOR
                      PHILADELPHIA, PA 19103-3222


                      FRANCO VASQUEZ
                      6207 37TH AVE
                      WOODSIDE, NY 11377


                      FRANK D. PLATT, ESQ.
                      151 NORTH MAIN ST.
                      NEW CITY, NY 10956


                      FREDERICK WILDMAN & SONS, LTD
                      307 EAST 53RD ST
                      NEW YORK, NY 10022


                      FRESCO PRODUCTS INC.
                      5626 POST RD
                      BRONX, NY 10471


                      FRUIT OF THE VINES, INC.
                      51-02 VERNON BLVD
                      LONG ISLAND CITY, NY 11101
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                      G.A.F.SEELIG, INC.
                      59-05 52ND AVE
                      WOODSIDE, NY 11377


                      GABRIELA FINE WINES
                      305 WEST, 87TH ST #1
                      NEW YORK, NY 10024


                      GEORGE BRESLAW PLUMBING LLC
                      559 WEST 45TH ST
                      NEW YORK, NY 10036


                      GEORGE WONG DESIGN, INC.
                      104 W 14 ST
                      SUITE 502
                      NEW YORK, NY 10011


                      GIOVANNI FLORES
                      278 SUYDAM STREET APT 3R
                      BROOKLYN, NY 11237


                      GLENDA CORTES
                      2798 MARION AVENUE APT 3
                      BRONX, NY 10458


                      GOTHAM ARTISANAL
                      56-36 59TH ST
                      MASPETH, NY 11378


                      GOTHAM SEAFOOD CORPORATION
                      542 WEST 29TH STREET
                      NEW YORK, NY 10001


                      GOURMET CARGO, LLC
                      642 FAYETTE AVE
                      MAMARONECK, NY 10543


                      GRAINGER, INC.
                      DEPT. 886814391
                      PALATINE, IL 60038-0001


                      GRAND CRU SELECTIONS, LLC
                      5 WEST 19TH STREET, SUITE 3R
                      NEW YORK, NY 10011
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                      GREEN OIL RECYCLING INC.
                      PO BOX 100772
                      BROOKLYN, NY 11210


                      GREENBERG, TRAGER & HERBST, LL
                      767 THIRD AVENUE, 12TH FL
                      NEW YORK, NY 10017


                      GUAN DONG YI JIA INC
                      4609 KISSENA BLVD
                      FLUSHING, NY 11355


                      GUO YAO LI
                      57 BAY 23RD ST APT 1
                      BROOKLYN, NY 11214


                      HAIYUE BAO
                      4303 64TH STREET FLOOR 2
                      WOODSIDE, NY 11377


                      HALL PR LLC
                      161 W 23RD ST
                      3RD FLOOR
                      NEW YORK, NY 10011


                      HALPERNS STEAK & SEAFOOD COMPA
                      601 KENTILE ROAD
                      SOUTH PLAINFIELD, NJ 07080


                      HAN GE WANG
                      88-38 50TH AVE
                      ELMHURST, NY 11373


                      HASSANE DAO
                      2816 FREDERICK DOUGLASS BLVD
                      APT. 3
                      NEW YORK, NY 10039


                      HELENA KURTEZI
                      22-41 29TH ST
                      ASTORIA, NY 11105


                      HIGH STYLE RENTALS
                      445 SILLS ROAD SUITE #3F
                      YAPHANK, NY 11980
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                      HNY CONSULTING ENGINEERS, LLC
                      PO BOX 785566
                      PHILADELPHIA, PA 19178-5566


                      HOBART SERVICE
                      P.O. BOX 2517
                      CAROL STREAM, IL 60132


                      HOCK LIM CHENG
                      109 MOTT ST APT 4
                      NEW YORK, NY 10013


                      HONGMEI ZHANG
                      7 HEDGEROW LANE
                      JERICHO, NY 11753


                      I.HALPER PAPER & SUPPLIES INC.
                      51 HOOK ROAD
                      BAYONNE, NJ 07002


                      I.M.PLUMBING & HEATING CORP.
                      412 8TH AVENUE, 2ND FLOOR
                      NEW YORK, NY 10001


                      ICC
                      519 8TH AVENUE, 4TH FLOOR
                      NEW YORK, NY 10018


                      ILLY CAFFE NORTH AMERICA, INC.
                      PO BOX 29917
                      NEW YORK, NY 10087


                      ILLY CAFFE NORTH AMERICA, INC.
                      800 WESTCHESTER AVE
                      SUITE S-440
                      NY 10723


                      IMANI Z. LEE-HECTOR
                      26 HARDING TERRACE
                      NEWARK, NJ 07112


                      IMP   PLUMBING & HEATING
                      412   8TH AVE
                      7TH   FLOOR
                      NEW   YORK, NY 10001
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                      INDEPENDENCE WINE & SPIRITS
                      165 ELLEEN WAY
                      SUITE D
                      SYOSSET, NY 11791


                      INGOLD LAW, PLLC
                      5555 MAIN ST
                      WILLIAMSVILLE, NY 14221


                      INNOVATIVE COMMUNICATION CONCE
                      519 8TH AVENUE
                      NEW YORK, NY 10018


                      IPFS CORPORATION
                      P.O. BOX 700
                      AMHERST, NY 14226-0700


                      IPO WINES, LLC
                      119 WEST 23RD ST
                      SUITE 803
                      NEW YORK, NY 10011


                      IPROMOTEU
                      P.O. BOX 200896
                      PITTSBURGH, PA 15251-0896


                      IRON BRIDGE CONSULTING, LLC
                      22 CORTLANDT ST
                      SUITE 1701
                      NEW YORK, NY 10007


                      J&M CUSTOM SHEET METAL, LLC
                      1331 NEW BROOKLYN RD
                      ERIAL, NJ 08081


                      JACOBS DOLAND BEER LLC
                      192 LEXINGTON AVENUE
                      SUITE 804
                      NEW YORK, NY 10016


                      JACQUELINE RIBAS TUDEME
                      40 WEST 116 ST
                      APT A607
                      NEW YORK, NY 11206
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                      JAM   CONSULTANTS INC.
                      104   WEST 29TH ST
                      9TH   FLOOR
                      NEW   YORK, NY 10001


                      JARED M. ROSEN, ESQ.
                      216 LAKEVILLE RD
                      GREAT NECK, NY 11020


                      JDB MARKET CORP DBA JOHN'S MAR
                      25-20 50TH AVE
                      LONG ISLAND CITY, NY 11101


                      JHONNY FIGUEROA
                      295 CENTRAL AVENUE #2
                      JERSEY CITY, NJ 07307


                      JIA BIN HUANG
                      8823 51ST AVE
                      ELMHURST, NY 11373


                      JIA LAW GROUP
                      225 BROADWAY, 17TH FLOOR
                      NEW YORK, NY 10007


                      JIAN FENG REN
                      RIVA R82
                      7 HEDGEROW LANE
                      JERICHO, NY 11753


                      JIAN HUA WU
                      527 W 47TH STREET APT 4H
                      NEW YORK, NY 10036


                      JIANG DU
                      88 MORGAN ST
                      APT. 4206
                      JERSEY CITY, NJ 07302


                      JIE FENG LIN
                      51-17 92ST
                      ELMHURST, NY 11373
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                      JIN TAO CHEN & SAU KUEN WONG
                      143 BAY 29TH ST
                      2ND FLOOR
                      BROOKLYN, NY 11214


                      JMART GROUP
                      136-20 ROSSEVELT AVE
                      FLUSHING, NY 11354


                      JOANA ROSALES
                      2819 MORRIS AVE
                      BRONX, NY 10468


                      JOE JURGIELEWICZVSON LTD.
                      P.O. BOX 257
                      SHARTLESVILLE, PA 19554


                      JOHANA LANGI
                      3555 38TH ST
                      LONG ISLAND CITY, NY 11101


                      JOHN'S GOURMET FOOD SERVICE
                      P.O. BOX 740454
                      BRONX, NY 10471


                      JOSE OSORIA
                      237 SOUTH 2ND AVE APT 3E
                      BROOKLYN, NY 11211


                      JOSEPH QUON
                      342 WEST 48TH STREET 4FW
                      NEW YORK, NY 10036


                      JUAN FRANCISCO BATISTA
                      535 WEST 135TH STREET APT 4A
                      NEW YORK, NY 10031


                      JULIUS SILVERT INC.
                      231 E. LUZERNE ST
                      PHILADELPHIA, PA 19124


                      JUN LUO
                      4212 28TH ST APT 26K
                      LONG ISLAND CITY, NY 11101
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                      JUSTIN SYSTEMS, INC.
                      9433 BEE CAVE ROAD
                      BUILDING II, SUITE 102
                      AUSTIN, TX 78733


                      K H WURTZ V/KASPER HEIE WURTZ
                      KIRKEBAKKEN 41 HATTING -
                      8700 HORSENS
                      DENMARK


                      KABACK SERVICE INC.
                      318 WEST 39TH STREET, 2ND FL
                      NEW YORK, NY 10018


                      KAISEN INC.
                      41 SCHERMERHORN ST.
                      BROOKLYN, NY 11201


                      KANAWATI ENTERPRISES
                      249 LODI ST.
                      HACKENSACK, NJ 07601


                      KENNY A. PRADA
                      454 SECOND AVENUE W
                      EAST NORTHPORT, NY 11731


                      KIMMIE KAKES LLC
                      270 W 38TH ST
                      SUITE #1704
                      NEW YORK, NY 10018


                      KINSON WHOLESALE, INC.
                      33 WEST 19TH STREET, 4TH FL
                      NEW YORK, NY 10011


                      KLEVIS TOSHKA
                      4401 17 AVE
                      BROOKLYN, NY 11204


                      KOP KG ONE LLC
                      750 LEXINGTON AVE
                      NEW YORK, NY 10022
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                      KRISTIAN RODRIGUEZ
                      212 WEST 91 ST APT 923
                      NEW YORK, NY 10024


                      KUAFU PROPERTIES. LLC
                      1500 BROADWAY
                      SUITE#2202
                      NEW YORK, NY 10036


                      L&T RESTAURANT EQUIPMENT INC.
                      62 ALLEN ST
                      NEW YORK, NY 10002


                      LAUREL LAKE VINEYARDS
                      3165 MAIN ROAD
                      LAUREL, NY 11948


                      LAW OFFICES OF L. BLAKE MORRIS
                      PO BOX 3289
                      NEW YORK, NY 10008-3289


                      LEVEL 3 COMMUNICATIONS, LLC
                      PO BOX 910182
                      DENVER, CO 80291-0182


                      LI, RUI YING
                      4260 MAIN ST
                      FLUSHING, NY 11355


                      LIBERTY COCA-COLA LLC
                      PO BOX 780810
                      PHILADELPHIA, PA 19178


                      LIN MIN HUANG
                      649 74TH ST
                      BROOKLYN, NY 11209


                      LIN ZHU
                      144-15 41ST APT 418
                      FLUSHING, NY 11355


                      LINEAR TECHNOLOGIES, INC.
                      259 WEST 30TH ST
                      SUITE 201
                      NEW YORK, NY 10001
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                      LIU, WENLI
                      1604 80TH STREET, FLOOR 1
                      BROOKLYN, NY 11214


                      LLL INTERNATIONAL TRAVEL INC.
                      136-21 ROOSEVELT AVE.
                      SUITE#211
                      FLUSHING, NY 11354


                      LONGYU GAO
                      206 E 10TH ST. APT D
                      NEW YORK, NY 10003


                      LU XIAO
                      47-28 11TH STREET APT 6D
                      LONG ISLAND CITY, NY 11101


                      LUCIO S. CARRENO
                      104-22 37TH DRIVE 1ST FL
                      CORONA, NY 11368


                      LUIS ARROYO
                      150 SUMMIT AVENUE APT 1B
                      CLIFFSIDE PARK, NJ 07010


                      LUTRON SERVICES CO
                      P.O. BOX 644396
                      PITTSBURGH, PA 15264-4396


                      M. TUCKER
                      150 SOUTH TWIN VALLEY RD
                      ELVERSON, PA 19520


                      M.S. WALKER, INC.
                      975 UNIVERSITY AVE.
                      NORWOOD, MA 02062


                      MAC FELDER INC.
                      610 11 AVE
                      NEW YORK, NY 10036


                      MADISON FISHER
                      914 BERGEN ST.
                      APT. 3
                      BROOKLYN, NY 11238
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                      MAIN STREET WHOLESALE MEATS
                      210 MAIN ST
                      FARMINGDALE, NY 11735


                      MANHATTAN BEER DISTRIBUTORS
                      955 EAST 149TH ST
                      BRONX, NY 10455-2097


                      MARCO A. MENDIETA
                      32-44 77TH ST
                      EAST ELMHURST, NY 11370


                      MARIA PALAGUACHI
                      3750 BROADWAY APT B
                      NEW YORK, NY 10032


                      MARSHALL-ALAN ASSOCIATES, INC.
                      5 WEST 37TH STREET
                      SUITE# 800
                      NEW YORK, NY 10018


                      MARYANN LORICK
                      545 W 126 ST., APT 7B
                      NEW YORK, NY 10027


                      MASPETH WELDING, INC.
                      59-30 54TH ST
                      MASPETH, NY 11378


                      MASSANOLS, LLC
                      443 PARK AVENUE SOUTH
                      SUITE 700
                      NEW YORK, NY 10016


                      MASTER FIRE EXTINGUISHERS, INC
                      1776 EAST TREMONT AVE
                      BRONX, NY 10460


                      MAXINE KABOL SPECIAL EVENTS
                      50 LEXINGTON AVE
                      SUITE 17 E
                      NEW YORK, NY 10010
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                      MAYIM WATER
                      111 JOHN STREET, SUITE 1610
                      NEW YORK, NY 10038


                      MAYIM WATER INC.
                      111 JOHN STREET, SUITE 1610
                      NEW YORK, NY 10038


                      MCKINNEY WELDING SUPPLY CO., I
                      1145 BRONX RIVER AVE
                      BRONX, NY 10472


                      MD MATIUR KHAN
                      2361 EAST 15TH ST
                      BROOKLYN, NY 11229


                      MELISSA AUGUSTO
                      911 WALTON AVENUE #2C
                      BRONX, NY 10452


                      MERAK BUSINESS & TRAVEL CONSUL
                      SKANSEVAENGET 12
                      3520 FARUM
                      DENMARK


                      MEREDITH SUZUKI LLC
                      140 E 16TH STREET #1A
                      NEW YORK, NY 10003


                      METRO SIGN & DESIGN COMMUNICAT
                      22-00 ARCADIA ROAD
                      FAIR LAWN, NJ 07410


                      MEYERS, SAXON & COLE
                      3620 QUENTIN RD
                      BROOKLYN, NY 11234


                      MICHAEL APFELBAUM, ESQ.
                      129 WEST 75TH ST.
                      SUITE #2
                      NEW YORK, NY 10023


                      MICHAEL ARIAS
                      203 EAST 175TH STREET APT 51
                      BRONX, NY 10457
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                      MICHAEL CHOE
                      240-83 67TH AVENUE
                      DOUGLASTON, NY 11363


                      MICHAEL JORDAN
                      142 EAST 16TH ST
                      APT. 3D
                      NEW YORK, NY 10003


                      MICHAEL LEO
                      5916 WOODSIDE AVE
                      APT 1R
                      WOODSIDE, NY 11377


                      MICHAEL SCAFFIDI
                      365 BOND A510
                      BROOKLYN, NY 11231


                      MICHAEL W. MCMAHON, SVP
                      CALLAHAN CAPITAL PROPERTIES
                      3 BRYANT PARK
                      NEW YORK, NY 10036


                      MICROMAGIC CO., INC.
                      2640 EAST 14TH STREET, UNIT C2
                      BROOKLYN, NY 11235


                      MITCHELL D. HADDAD, ESQ.
                      SILLS CUMMIS & GROSS P.C.
                      101 PARK AVE, 28TH FL
                      NEW YORK, NY 10178


                      MODDERN MARKETING SERVICES, LL
                      340 MADISON AVE
                      19TH FLOOR
                      NEW YORK, NY 10173


                      MOHAMMED UDDIN
                      8004 95TH AVE FL1
                      OZONE PARK, NY 11416


                      MONSIEUR TOUTON SELECTION, LTD
                      129 WEST 27TH STREET, 9TH FL
                      NEW YORK, NY 10001
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                      MP FISH LLC
                      5-18 50TH AVE
                      LONG ISLAND CITY, NY 11101


                      MUHAMMED FOISAL
                      107-21 78TH STREET
                      OZONE PARK, NY 11417


                      MUSHROOMS & MORE
                      37 FULTON STREET
                      WHITE PLAINS, NY 10606


                      MYERS SAXON & COLE
                      3620 QUENTIN RD
                      BROOKLYN, NY 11234


                      NATIONAL REGISTER AGENTS
                      P.O. BOX 4349
                      CAROL STREAM, IL 60197-4349


                      NCR CORPORATION
                      108 W 39TH ST
                      NEW YORK, NY 10018


                      NEW YORK STATE LIQUOR AUTHORIT
                      117 BROADWAY
                      ALBANY, NY 12202


                      NIAN CHEN
                      117 WEST 90TH STREET APT 3A
                      NEW YORK, NY 10024


                      NICHOLE D. CORTESE, ESQ.
                      LOEB & LOEB LLP
                      345 PARK AVE
                      NEW YORK, NY 10154


                      NJS ELECTRICAL SERVICES CORP.
                      36-16 13TH ST
                      LONG ISLAND CITY, NY 11106


                      NORTH EAST LINEN SUPPLY
                      P.O.BOX 984003
                      BOSTON, MA 02298-4003
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                      NRAI, INC.
                      PO BOX 4349
                      CAROL STREAM, IL 60197-4349


                      NY CITY DEPARTMENT OF FINANCE
                      P.O. BOX 2307
                      NEW YORK, NY 10272-2307


                      NYC & COMPANY INC
                      810 SEVENTH AVENUE, 3RD FLOOR
                      NEW YORK, NY 10019


                      NYC DOHMH
                      DIVISION OF PAYMENTS
                      P.O. BOX 787656
                      PHILADELPHIA, PA 19178-7656


                      NYC FIRE DEPARTMENT
                      CHURCH STREET STATION
                      PO BOX 840
                      NEW YORK, NY 10008-0840


                      NYC FIRE DEPARTMENT
                      PO BOX 412014
                      BOSTON, MA 02241-2014


                      NYC HOSPITALITY ALLIANCE
                      65 WEST 55TH ST
                      STE 203A
                      NEW YORK, NY 10019


                      NYS DEPT OF TAXATION & FINANCE
                      CIVIL ENFORCEMENT – REGION 4A
                      ALBANY, NY 12227-0001


                      OASIS
                      7 PENNSYLVANIA PLAZA #305
                      NEW YORK, NY 10001


                      OKEANOS AQUASCAPING
                      521 W 26TH ST
                      SUITE #600
                      NEW YORK, NY 10001
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                      OPEN TABLE
                      29109 NETWORK PLACE
                      CHICAGO, IL 60673-1291


                      OPICI FAMILY DISTRIBUTING
                      3 MANHATTANVILLE RD
                      PURCHASE, NY 10577


                      OSIEL URIBE
                      36-13 109TH ST 3RD FLOOR
                      QUEENS, NY 11368


                      OTHER HALF BREWING COMPANY, IN
                      195 CENTRE ST
                      BROOKLYN, NY 11231


                      PAI WEN FENG
                      1259 67TH ST
                      BROOKLYN, NY 11219


                      PARIS GOURMET OF N.Y. LLC
                      PO BOX 36242
                      NEWARK, NJ 07188-6242


                      PARK STREET IMPORTS
                      1000 BRICKELL AVE. STE 915
                      MIAMI, FL 33131


                      PARKER GINN MARVIN
                      88 GREENWICH ST #2602
                      NEW YORK, NY 10006


                      PAT LAFRIEDA MEAT PURVEYORS
                      3701 TONNELLE AVE
                      NORTH BERGEN, NJ 07047


                      PATRIOT ELECTRIC CORP
                      15-17 126 ST
                      COLLEGE POINT, NY 11356


                      PAUL JAMBOR
                      50 FRANKLIN AVE
                      BROOKLYN, NY 11205
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                      PAYCHEX   OF NEW YORK LLC
                      LOCKBOX   #732954
                      P.O.BOX   732954
                      DALLAS,   TX 75373-2954


                      PETIT POIS CORPORATION
                      SUSSEX WINE MERCHANTS
                      50 TWOSOME DR., SUITE 3
                      MOORESTOWN, NJ 08057


                      PETROSSIAN DISTRIBUTION, INC.
                      11-39 47TH AVE
                      LONG ISLAND CITY, NY 11101


                      PICCININI BROTHERS, INC.
                      633 9TH AVE
                      NEW YORK, NY 10036


                      PIPE DREMS
                      857 UNION STREET 2-C
                      BROOKLYN, NY 11215


                      PO WING TRADING CORP.
                      123 BANKER ST
                      BROOKLYN, NY 11222


                      POLANER SELECTIONS
                      19 N. MOGER AVE.
                      MOUNT KISCO, NY 10549


                      POPULAR PLUMBING AND HEATING C
                      10 CHARLES ST.
                      P.O. BOX 310
                      NEW HYDE PARK, NY 11040


                      PRAGER METIS CPAS, LLC
                      14 PENN PLAZA
                      SUITE #1800
                      NEW YORK, NY 10122


                      PRAGNA PARIKH, ESQ.
                      SMITH CARROAD
                      5036 JERICHO TPKE
                      COMMACK, NY 11725
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                      PRINT SCAN LLC
                      21 PULASKI ROAD
                      KINGS PARK
                      KINGS PARK, NY 11754


                      PRIVATE CASK IMPORTS/MHW LTD
                      1129 NORTHERN BLVD
                      MANHASSET, NY 11030


                      PRO TAPPING, INC.
                      620 GRAVELLY HOLLOW RD
                      MEDFORD, NJ 08055


                      QUALITY BUILDING SERVICES CORP
                      801 2ND AVE
                      NEW YORK, NY 10017


                      RANDALL FAYETTE BELLOWS III
                      475 KENT AVE.
                      APT. 302
                      BROOKLYN, NY 11249


                      RECEIVABLES PERFORMANCE MANAGE
                      PO BOX 1548
                      LYNNWOOD, WA 98046-1548


                      REGAL WINE IMPORTS
                      636 BROADWAY, SUITE 712
                      NEW YORK, NY 10012


                      REGAL WINE IMPORTS INC.
                      2 COMMERCE DRIVE, SUITE 3
                      MOORESTOWN, NJ 08057


                      RELIN, GOLDSTEIN & CRANE, LLP
                      28 EAST MAIN ST., SUITE 1800
                      ROCHESTER, NY 14614


                      RIDGE PRODUCE INC.
                      P.O. BOX 740454
                      BRONX, NY 10474


                      RIVIERA PRODUCE CORP.
                      205 JACKSON ST
                      ENGLEWOOD, NJ 07631
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                      ROBERT D. BLOCK, ESQ.
                      250 PARK AVE., 7TH FLOOR
                      NEW YORK, NY 10177-0799


                      ROCKET AND WALKER INC.
                      379 WEST BROADWAY, 2ND FLOOR
                      NEW YORK, NY 10012


                      ROCKET AND WALKER INC.
                      175 VARICK
                      2ND FLOOR
                      NEW YORK, NY 10014


                      RONALD A. ORTIZ
                      93-09 215TH ST
                      QUEENS VILLAGE, NY 11428


                      ROSELIO SERRANO
                      40 COOPER STREET APT 4A
                      BROOKLYN, NY 11207


                      ROYAL WINE COMPANY
                      63-65 LE FANTE WAY
                      P.O. BOX 17
                      BAYONNE, NJ 07002-0017


                      RRP PLUMBING CORP.
                      222 EAST MEADOW AVE
                      SUITE 2B
                      EAST MEADOW, NY 11554


                      RUI MIN JIANG
                      205 GRAND ST
                      NEW YORK, NY 10013


                      S.K.I. BEER CORP.
                      169 BAR GARDNER AVE
                      BROOKLYN, NY 11237


                      SCARLETT ENTERAINMENT INC
                      5550 PAINTED MIRAGE RD.
                      SUITE 320
                      LAS VEGAS, NV 89149
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                      SCHEMAN'S BRYANT PARK
                      55 WEST 39TH ST
                      NEW YORK, NY 10018


                      SECURITY SERVICES INC.
                      5 JOHSON DR
                      STONY POINT, NY 10980


                      SELECTION PAS MAL
                      285 WEST BROADWAY, SUITE 330
                      NEW YORK, NY 10013


                      SENTINEL MANAGEMENT GROUP, INC
                      96-59 222ND STREET, SUITE#200
                      QUEENS VILLAGE, NY 11429


                      SHANGXIN LI
                      159-08 43 AVE
                      FLUSHING, NY 11358


                      SHAWMUT DESIGN AND CONSTRUCTIO
                      3 EAST 54TH ST
                      10TH FLOOR
                      NEW YORK, NY 10022


                      SHELTERPOINT LIFE
                      PO BOX 9340
                      GARDEN CITY, NY 11530


                      SHIFTNOTE LLC
                      P.O. BOX 24392
                      SHAWNEE MISSION, KS 66283-4392


                      SHIN KANEMITSU
                      239 EAST 110ST #1
                      NEW YORK, NY 10029


                      SHUE NING
                      14105 58TH AVE
                      FLUSHING, NY 11355


                      SINGER EQUIPMENT CO., INC.
                      150 SOUTH TWIN VALLEY RD
                      ELVERSON, PA 19520-9387
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                      SKURNIK WINES
                      PO BOX 1315
                      SYOSSET, NY 11791-1315


                      SMALL TELL AND SON, INC.
                      300 SMITH ST.
                      FARMINGDALE, NY 11735


                      SMARTSHEET INC.
                      DEPT 3421
                      PO BOX 123421
                      DALLAS, TX 75312-3421


                      SOILAIR SELECTIONS
                      150 WEST 30TH ST
                      SUITE 706
                      NEW YORK, NY 10001


                      SOMMPICKS LLC
                      548 MARKET ST, #89930
                      SAN FRANCISCO, CA 94104-5401


                      SONAM DHUNDUP
                      4051 77TH ST FLOOR 2
                      ELMHURST, NY 11373


                      SOUTHERN GLAZER'S WINE AND SPI
                      PO BOX 3143
                      HICKSVILLE, NY 11802


                      SPECTRA AUDIO DESIGN GROUP, LT
                      12 WEST 21TH ST
                      NEW YORK, NY 10010


                      SPECTRIO LLC
                      P.O. BOX 28289-0271
                      CHARLOTTE, NC 28289-0271


                      SPECTRUM
                      PO BOX 223085
                      PITTSBURGH, PA 15251-2085


                      STANDARD PEST MANAGMENT
                      2580 STAINWAY ST.
                      LONG ISLAND CITY, NY 11103
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                      STANDARD SECURITY LIFE INS. CO
                      PO BOX 2875
                      CLINTON, IA 52733-2875


                      STARK PRODUCTS CO., INC.
                      29-14 122ND ST
                      COLLEGE POINT, NY 11354


                      STATE OF DELAWARE
                      401 FEDERAL ST #4
                      DOVER, DE 19901


                      STATEWIDE FIRE CORP.
                      1 TELEPORT DRIVE - SUITE 202
                      STATEN ISLAND, NY 10311


                      STEVEN M. LUTT, ESQ.
                      WHITE & CASE LLP
                      1221 AVENUE OF THE AMERICAS
                      NEW YORK, NY 10020-1095


                      STRATFORD ENGINEERING LLC
                      321 BROADWAY
                      5TH FLOOR
                      NEW YORK, NY 10007


                      SYSCO METRO NEW YORK, LLC
                      20 THEODORE CONRAD DR
                      JERSEY CITY, NJ 07305


                      T EDWARD WINES LTD
                      PO BOX 242
                      GARDINER, NY 12525


                      T. ELENTENY IMPORTS LLC
                      285 WEST BROADWAY, SUITE 500
                      NEW YORK, NY 10013


                      TAI HE TRADING CORP.
                      32-33 HUNTERS POINT AVE
                      LONG ISLAND CITY, NY 11101
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                      TAMIKA FRASER
                      30 W. 90TH ST
                      APT. 1C
                      NEW YORK, NY 10024


                      TENG TEA LLC
                      123 EAST 7TH ST
                      NEW YORK, NY 10009


                      TGI OFFICE AUTOMATION, INC.
                      120 3RD ST
                      BROOKLYN, NY 11231


                      THE CHEF AGENCY
                      STEVENS AND COMPANY LLC
                      275 MADISON AVE, 24TH FLOOR
                      NEW YORK, NY 10016


                      THE CHEF'S GARDEN, INC.
                      9009 HURON AVERY RD
                      HURON, OH 44839


                      THE LOBSTER PLACE INC.
                      75 9TH AVE
                      NEW YORK, NY 10011


                      THE WEEKS LERMAN GROUP
                      5838 PAGE PL
                      MASPETH, NY 11378


                      THE WINE TRUST
                      464 HERITAGE RD
                      SUITE G
                      SOUTHBURY, CT 06488


                      TIGER & FOX 3 LLC
                      C/O JINMEI YANG
                      49 HILLSIDE DRIVE,
                      GREENWICH, CT 06830


                      TIME WARNER CABLE
                      BOX 223085
                      PITTSBURGH, PA 15251-2085
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                      TIMOTHY J. FIERST, ESQ.
                      22 BAYVIEW AVE, SUITE 202
                      MANHASSET, NY 11030


                      TIMOTHY WAN, ESQ.
                      SMITH CARROAD
                      PO BOX 49
                      COMMACK, NY 11725


                      TO RISE LLC
                      118-40 MONTAUK ST
                      SAINT ALBANS, NY 11412


                      TONGDA TRAVEL INC.
                      133-20 AVERY AVE 6B
                      FLUSHING, NY 11355


                      TONGLU HARMONIOUS LANDSCAPE ST
                      NO.99 LONG TAN ROAD
                      CHENG NAN STREET, HANGZHOU
                      CHINA


                      TOTAL FIRE PROTECTION
                      5322 AVENUE N
                      BROOKLYN, NY 11234


                      TOTAL QUALITY FIRE & SECURITY
                      135 WEST 29TH ST.
                      SUITE 601
                      NEW YORK, NY 10001


                      TRADIZIONE IMPORTS
                      205 E. 42ND ST
                      20TH FLOOR
                      NEW YORK, NY 10017


                      TRANSEL ELEVATOR AND ELECTRIC
                      P.O. BOX 71241
                      PHILADELPHIA, PA 19176


                      TRANSEL ELEVATOR AND ELECTRIC
                      30-30 47TH AVENUE
                      SUITE 6110
                      LONG ISLAND CITY, NY 11101
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                      TRANSPERFECT TRANSLATIONS INT'
                      3 PARK AVENUE, 39TH FLOOR
                      NEW YORK, NY 10016


                      TRAVELERS INSURANCE
                      PO BOX 660317
                      DALLAS, TX 75266


                      TRI STATE CARBONATION SERVICE
                      P.O.BOX 333
                      THOMPSONVILLE, NY 12784


                      TRIPLESEAT SOFTWARE
                      50 BEHARRELL ST, SUITE B
                      CONCORD, MA 01742


                      TROY ROSE
                      718 LINWOOD ST
                      BROOKLYN, NY 11208


                      TRUE WORLD FOODS NEW YORK LLC
                      32-34 PAPETTI PLAZA
                      ELIZABETH, NJ 07206


                      ULINE, INC.
                      ATTN: ACCOUNTS RECEIVABLE
                      PO BOX 88741
                      CHICAGO, IL 60680-1741


                      UNION BEER DISTRIBUTORS
                      1213-17 GRAND STREET
                      BROOKLYN, NY 11211


                      UNION SECURITY LIFE INSURANCE
                      21189 NETWORK PLACE
                      CHICAGO, IL 60673-1211


                      UNITED HEALTHCARE OXFORD
                      P.O. BOX 1697
                      NEWARK, NJ 07101-1697


                      UNIVERSAL BACKGROUND SREENING,
                      P.O. BOX 5920
                      SCOTTSDALE, AZ 85261
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                      UNIVERSAL PLUMBING INC.
                      214 N FEHR WAY STE B
                      BAY SHORE, NY 11706


                      US DEPT OF HOMELAND SECURITY
                      208 E 51ST ST
                      NEW YORK, NY 10022


                      US FOODS
                      1051 AMBOY AVE
                      PERTH AMBOY, NJ 08861


                      USA WINE IMPORTS, INC.
                      285 WEST BROADWAY, SUITE #330
                      NEW YORK, NY 10013


                      VAL'S OCEAN PACIFIC
                      624 WORTHEN ST.
                      BRONX, NY 10474


                      VAN DEUSEN & ASSOCIATES, INC.
                      120 EAGLE ROCK AVE
                      SUITE #310
                      EAST HANOVER, NJ 07936


                      VANDENBERG & FELIU, LLP
                      60 EAST 42ND ST
                      51ST FLOOR
                      NEW YORK, NY 10165


                      VDA LLC
                      120 EAGLE ROCK AVE
                      SUITE 310
                      EAST HANOVER, NJ 07936


                      VERITY WINE LLC
                      PO BOX 1826
                      NEW YORK, NY 10156


                      VERIZON
                      PO BOX 15124
                      ALBANY, NY 12212-5124
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                      VESTA (GUANGZHOU) CATERING EQU
                      HUAQIAO SCIENCE&TECHNOLOGY PAR
                      HUADU DISTRICT GUANGZHOU, PR 5
                      CHINA


                      VINCENTE MELENDEZ ARIAS
                      131 SAINT NICHOLAS AVE
                      APT. 13C
                      NEW YORK, NY 10026


                      VINTUS LLC
                      42 MEMORIAL PLAZA
                      PLEASANTVILLE, NY 10570


                      VIPIN GOYAL
                      119 KING ST
                      BROOKLYN, NY 11231


                      VISTA FOOD EXCHANGE, INC.
                      B 101 FOOD CENTER ARCADEM
                      HUNTS POINT CO-OP MARKET
                      BRONX, NY 10474


                      VOS SELECTIONS
                      555 8TH AVE
                      SUITE 1209
                      NEW YORK, NY 10018


                      VRANKEN POMMERY
                      12 EAST 33RD ST
                      7TH FLOOR
                      NEW YORK, NY 10016


                      WAI C. LOW
                      51 NEW LANE
                      STATEN ISLAND, NY 10305


                      WATERLOGIC USA INC.
                      P.O. BOX 677867
                      DALLAS, TX 75267


                      WEEKS-LERMAN GROUP, LLC
                      58-38 PAGE PLACE
                      P.O.BOX 0
                      MASPETH, NY 11378
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                      WEI MING LIAO
                      8210 15TH AVE
                      BROOKLYN, NY 11228


                      WELL PORT CONTAINER LINE INC.
                      161-15 ROCKAWAY BLVD
                      SUITE #308
                      JAMAICA, NY 11434


                      WHITE COFFE
                      18-35 STAINWAY PLACE
                      P.O. BOX 5189
                      LONG ISLAND CITY, NY 11105


                      WILLIAM COVE
                      118-82 METROPOLITAN AVE
                      KEW GARDENS, NY 11415


                      WILLIAM VAZQUEZ
                      CBRE ASSET SERVICES
                      3 BRYANT PARK
                      NEW YORK, NY 10036


                      WILLIS OF NEW YORK, INC.
                      P.O. BOX 4557
                      NEW YORK, NY 10249-4557


                      WILSON DANIELS WHOLESALE LLC.
                      19 W 24TH 7TH FLOOR
                      NEW YORK, NY 10010


                      WINE SYMPHONY, INC.
                      580 BROADWAY. RM 508
                      NEW YORK, NY 10012


                      WINEBOW, INC.
                      D/B/A MARTIN SCOTT WINES
                      31 WEST 27TH STREET, 7TH FLOOR
                      NEW YORK, NY 10001


                      WINZONE REALTY INC.
                      81-15 QUEENS BLVD
                      ELMHURST, NY 11373
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                      WIZARD STUDIOS NORTH, INC.
                      305 TEN EYCK ST
                      BROOKLYN, NY 11206


                      WK FOODS LLC
                      810 SOUTH BROADWAY
                      HICKSVILLE, NY 11801


                      WORLD CLASS BUSSINES PRODUCTS
                      48-49 35TH ST
                      LONG ISLAND CITY, NY 11101


                      XIAODONG WANG
                      45-15 ASTER LANE
                      GREAT NECK, NY 11020


                      XIAOJIE WU
                      246 BAINBRIDGE STREET APT 6
                      BROOKLYN, NY 11233


                      XUE & ASSOCIATES, P.C.
                      1 SCHOOL STREET, SUITE 303 A
                      GLEN COVE, NY 11542


                      YIFAN BAI
                      300 EAST 93RD STREET
                      APT 6A
                      NEW YORK, NY 10128


                      YORK BUILDING SERVICES, INC.
                      PO BOX 312
                      MANASQUAN, NJ 08736


                      ZAMBUP MUSIC GROUP INC
                      40 WEST 116 STREET APT A 607
                      NEW YORK, NY 10026


                      ZHENG ZHANG
                      45-15 ASTER LANE
                      GREAT NECK, NY 11020


                      ZWICKER & ASSOCIATES, P.C.
                      80 MINUTEMAN RD
                      ANDOVER, MA 01810-1008
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